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                EXHIBIT B
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                                                                F.V. v. Jeppesen
                                                       Time Sheet for Attorney Peter Renn

                                                                                                                         TIME TIME
DATE        DESCRIPTION                                                                                                  SPENT BILLED
            Analyze case filings in federal lawsuit filed by NAATP raising allegations regarding HB 509 and potential
3/20/2020
            implications for further litigation in F.V.                                                                      0.9     0
            Email with M.R. of NAATP regarding case filings in light of potential implications for further litigation in
3/20/2020
            F.V.                                                                                                             0.2     0
            Draft agenda for issues to discuss with M.R. regarding NAATP litigation in light of potential implications
3/20/2020
            for further litigation in F.V.                                                                                   0.3     0
3/23/2020   Draft list of tasks to prepare for litigation relating to HB 509 and agenda for litigation team conference.      0.5   0.5
            Telephone conference with litigation team to discuss initial tasks to prepare for litigation relating to HB
3/23/2020
            509.                                                                                                             1.4   1.4
            Telephone conference with M.R. regarding NAATP litigation in light of potential implications for further
3/23/2020
            litigation in F.V.                                                                                               0.3     0
3/30/2020   Draft agenda for issues to discuss during conference with litigation team.                                       0.5   0.5
            Review and analyze preclusion research findings from Ms. Huppert as potential basis for challenging HB
3/30/2020
            509.                                                                                                             0.5   0.5
            Telephone conference with litigation team to discuss initial tasks to prepare for litigation relating to HB
3/30/2020
            509.                                                                                                               1     1
3/31/2020   Telephone conference with Lambda Legal attorney T. Borelli to consult regarding litigation strategy.             0.7   0.7
3/31/2020   Analyze and research potential procedural options for confirming HB 509 violates existing injunction.            1.3   1.3
3/31/2020   Telephone conference with Ms. Huppert to discuss dissolution research.                                           0.3   0.3
3/31/2020   Review and analyze new statutory language.                                                                       1.4   1.4
4/1/2020    Telephone conference with Ms. Ingelhart re: statutory interpretation of HB 509 and dissolution motion.           0.4   0.4
4/1/2020    Telephone conference with Ms. Farnsworth re legislative history research.                                        0.3   0.3
4/1/2020    Telephone conference with Ms. Huppert re: research on existing injunction and 509.                               0.7   0.7
4/1/2020    Analyze research from Ms. Huppert re: Rule 60.                                                                   0.5   0.5
            Telephone conference with M.R. re: NAATP litigation in light of potential implications for further
4/2/2020
            litigation in F.V.                                                                                               0.1     0
4/2/2020    Telephone conference with Mr. Zanzig re: legal challenge to HB 509.                                              0.9   0.9
4/2/2020    Email Ms. Ingelhart, Ms. Huppert, and Ms. Cockerille re: communication with Mr. Zanzig.                          0.8   0.8
            Analyze and research legal issues for challenge to 509, including FV decision, potential motion for
4/2/2020
            clarification, contempt, and Rule 60.                                                                            3.9   3.9
4/3/2020    Emails with Ms. Ingelhart and Ms. Huppert re: potential co-counsel.                                              0.5     0
4/3/2020    Analyze initial litigation tasks to accomplish and potential division of labor.                                  1.3   1.3
4/3/2020    Draft outline of potential motion seeking relief.                                                                1.8   1.8
4/6/2020    Draft outline of potential motion seeking relief.                                                                1.1   1.1
            Emails with Ms. Taylor, Mr. Castillo, Ms. Ingelhart, Ms. Huppert, and Ms. Cockerille re: potential co-
4/6/2020
            counsel.                                                                                                         0.4     0
4/6/2020    Draft agenda for litigation team call with initial litigation tasks to accomplish.                               1.3   1.3
4/6/2020    Draft outline of motion for clarification.                                                                       1.2   1.2
4/6/2020    Telephone conference with Ms. Ingelhart, Ms. Huppert, and Ms. Cockerille re: initial litigation tasks.           1.5   1.5
4/6/2020    Telephone conference with individual potentially harmed by HB 509, J-W.                                            1     1
4/6/2020    Telephone conference with Ms. Ingelhart and Ms. Huppert re: communication with J-W.                                1     1
4/7/2020    Prepare for call with potential Covington co-counsel Mr. Isasi, Ms. Veta, and Mr. Liu.                           1.3     0
4/7/2020    Telephone conference with potential Covington co-counsel.                                                        0.7     0
4/7/2020    Telephone conference with Ms. Ingelhart re: potential Covington co-counsel.                                      0.3     0
4/7/2020    Research for motion for clarification                                                                            1.4   1.4
4/7/2020    Analyze and revise co-counsel agreement for Covington.                                                           0.8     0
4/7/2020    Email Mr. Castillo regarding co-counsel agreement with Covington.                                                0.3     0
4/8/2020    Email with Ms. Farnsworth regarding research regarding lawmaker statements.                                      0.3   0.3
4/8/2020    Draft motion for clarification.                                                                                  3.7   3.7
4/8/2020    Research for motion for clarification.                                                                           0.6   0.6
4/8/2020    Telephone conference with Mr. Castillo regarding co-counseling with Covington.                                   0.3     0
4/8/2020    Draft email to Covington team regarding co-counseling.                                                           0.5     0
4/8/2020    Telephone conference with Ms. Ingelhart regarding co-counseling with Covington.                                  0.3     0
4/9/2020    Draft motion for clarification.                                                                                  6.7   6.7
4/10/2020   Draft co-counsel agreement; email Covington re: same.                                                            1.2     0
4/10/2020   Draft agenda for litigation team call with initial litigation tasks.                                             0.7   0.7


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4/10/2020   Telephone conference with Ms. Huppert regarding research for motion for clarification.                            0.5    0.5
4/10/2020   Research and draft motion for clarification.                                                                        3      3
4/10/2020   Telephone conference with full litigation team regarding initial litigation tasks.                                1.1    1.1
4/11/2020   Research and draft motion for clarification.                                                                      5.1    5.1
4/12/2020   Draft motion for clarification.                                                                                   5.1    5.1
4/13/2020   Draft motion for clarification.                                                                                  12.4   12.4
4/14/2020   Email Ms. Ingelhart regarding review of motion.                                                                   0.1    0.1
4/14/2020   Email Ms. Martin regarding further litigation.                                                                    0.1    0.1
4/14/2020   Email Ms. Farnsworth regarding lawmaker statements and review of brief.                                           0.2    0.2
4/14/2020   Email Ms. Huppert regarding further research tasks relevant to clarification motion.                              0.2    0.2
4/14/2020   Email Ms. Cockerille regarding options to shorten time.                                                           0.4    0.4
4/14/2020   Review additional recorded legislative proceedings.                                                               2.1    2.1
4/14/2020   Telephone conference with Ms. Cockerille regarding potentially shortening time.                                   0.2    0.2
4/14/2020   Draft motion for clarification and motion to shorten time.                                                        2.3    2.3
4/14/2020   Draft proposed order to shorten time and review rules for same.                                                   0.4    0.4
4/15/2020   Email Ms. Smith regarding revisions to motion for clarification; review suggested revisions.                      0.6    0.6
4/15/2020   Email with Ms. Cockerille regarding revisions to motion for clarification and to shorten time.                    0.2    0.2
4/15/2020   Revise motion for clarification                                                                                   1.8    1.8
4/15/2020   Revise motion for clarification and to shorten time; email litigation team re: same.                              4.6    4.6
            Telephone conference with individual potentially harmed by HB 509, L.B., regarding potential
4/15/2020
            participation in litigation                                                                                       1.3    1.3
4/15/2020   Draft email to Mr. Zanzig re: forthcoming motions, to transmit on filing day.                                     0.4    0.4
4/17/2020   Draft agenda for weekly litigation call.                                                                          0.5    0.5
            Attend weekly litigation call to discuss litigation tasks and division of labor, including further research in
4/17/2020
            support of clarification motion.                                                                                  0.9    0.9
4/17/2020   Review order shortening time and setting hearing; review general order cited in order.                            0.2    0.2
4/17/2020   Review complaint in related litigation challenging HB 500 with potential implications for litigation in F.V.
                                                                                                                              0.5      0
4/23/2020   Email Ms. Ingelhart re: legislative justifications for HB 509.                                                    0.3    0.3
4/24/2020   Email with Ms. Farnsworth regarding sharing of documents with Covington.                                          0.1    0.1
4/24/2020   Research on standing/mootness for clarification reply.                                                            2.9    2.9
4/24/2020   Research FRCP 60(b)(5) case law.                                                                                  2.6    2.6
4/27/2020   Prepare agenda for weekly team call to discuss litigation tasks.                                                  0.5    0.5
            Telephone conference with litigation team to discuss litigation tasks and division of labor, including
4/27/2020
            further research in support of clarification motion and development of facts relevant to HB 509.                    1      1
4/27/2020   Review HB 509 legislative justification rebuttal outline from Ms. Ingelhart and comment on same.                  1.7    1.7
4/27/2020   Review legislative history for justification rebuttal outline.                                                    0.3    0.3
4/27/2020   Telephone conference with Ms. Ingelhart re: identification of individuals potentially harmed by HB 509.           0.2    0.2
4/27/2020   Telephone conference with Ms. Huppert re: injunction dissolution research.                                        0.3    0.3
4/27/2020   Email Ms. Huppert re: health research justification for HB 509.                                                   0.4    0.4
4/27/2020   Telephone conference with Ms. Borelli re: co-counsel agreement.                                                   0.4      0
4/28/2020   Email Ms. Taylor re: co-counsel agreement.                                                                        0.8      0
4/28/2020   Telephone conference with Ms. Taylor re: co-counsel agreement.                                                    0.4      0
4/28/2020   Email Ms. Ingelhart re: co-counsel agreement.                                                                     0.3      0
4/28/2020   Review informal transcripts of legislative proceedings, and annotate same.                                        0.8    0.8
4/29/2020   Draft email to Ms. Taylor re: co-counsel agreement.                                                               0.6      0
4/29/2020   Review informal transcripts of legislative proceedings, and annotate same.                                        0.8    0.8
4/29/2020   Telephone conference with Ms. Taylor and Ms. Veta re: co-counsel agreement.                                       0.3      0
4/29/2020   Telephone conference with Ms. Taylor re: co-counsel agreement.                                                    0.1      0
4/29/2020   Email Ms. Ingelhart and Ms. Huppert re: co-counsel agreement.                                                     0.3      0
4/29/2020   Draft email to Ms. McGowan re: co-counseling with Covington.                                                      0.7      0
4/30/2020   Review informal transcripts of legislative proceedings, and annotate same.                                        3.7    3.7
5/1/2020    Review informal transcripts of legislative proceedings, and annotate same.                                        3.2    3.2
5/1/2020    Telephone conferences with Ms. Taylor re: co-counsel agreement.                                                   0.3      0
5/1/2020    Telephone conference with Ms. Veta re: co-counsel agreement.                                                      0.1      0
            Analyze potential arrangement with co-counsel and email with Ms. Taylor and Ms. McGowan regarding
5/1/2020
            same.                                                                                                             2.2      0
5/1/2020    Review and analyze opposition to motion for clarification.                                                        1.5    1.5


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5/2/2020    Review and analyze opposition to motion for clarification; draft analysis for reply.                               5      5
5/2/2020    Research for reply to motion for clarification.                                                                  0.5    0.5
5/3/2020    Research for reply to motion for clarification.                                                                  2.9    2.9
5/4/2020    Draft reply to motion for clarification.                                                                         8.3    8.3
5/5/2020    Draft reply to motion for clarification.                                                                         9.8    9.8
5/5/2020    Email Mr. Belfer re: research findings on standing and related issues.                                           0.3    0.3
5/6/2020    Draft reply to motion for clarification.                                                                        11.6   11.6
5/7/2020    Email Ms. Ingelhart regarding legislative testimony re: HB 509.                                                  0.4    0.4
5/7/2020    Review revised co-counsel agreement.                                                                             0.2      0
5/7/2020    Email with Ms. Taylor re: co-counsel agreement.                                                                  0.3      0
5/7/2020    Email Ms. Veta re: co-counsel agreement.                                                                         0.2      0
5/7/2020    Revise draft of reply to motion for clarification.                                                               0.4    0.4
5/7/2020    Email Ms. Cockerille re: co-counsel agreement.                                                                   0.3      0
            Analyze facts regarding individual potentially harmed by HB 509 and email Ms. Ingelhart and Ms.
5/7/2020
            Huppert re: same.                                                                                                1.1    1.1
5/7/2020    Email Covington team re: potential strategy, including PI/TRO considerations.                                    0.7    0.7
5/8/2020    Revise draft reply to motion for clarification.                                                                  5.5    5.5
5/8/2020    Email Mr. Liu re: revisions to draft of reply to motion for clarification.                                       0.5    0.5
5/10/2020   Email Ms. Huppert re: supplemental research relevant to reply brief.                                             0.2    0.2
5/10/2020   Research case law regarding consent decrees for reply brief.                                                     1.1    1.1
5/10/2020   Review and revise reply to motion for clarification.                                                             0.9    0.9
5/11/2020   Review reply brief prior to filing.                                                                              0.3    0.3
            Review new social science research relevant to corrected identity documents; email litigation team re:
5/11/2020
            same.                                                                                                            0.3    0.3
5/11/2020   Draft agenda for weekly litigation call.                                                                         0.4    0.4
            Telephone conference with litigation team for weekly call to discuss litigation tasks and division of labor,
5/11/2020
            including upcoming moot on motion, and further development of facts relevant to HB 509.                          1.1    1.1
5/11/2020   Revise public records request relevant to HB 509.                                                                1.5    1.5
            Analyze potential timing of filings in new case, if required, and impact of pending motion for clarification;
5/11/2020
            draft email to Ms. Cockerille re: same.                                                                          1.7    1.7
5/11/2020   Telephone conference with Ms. Borelli potential timing of filings in new case, if required.                      0.4    0.4
5/11/2020   Telephone conference with Ms. Cockerille re: potential timing of filings in new case, if required.               0.5    0.5
5/11/2020   Email litigation team re: potential preliminary injunction before HB 509 effective date.                         0.6    0.6
5/11/2020   Email Ms. Ingelhart re: organizations potentially harmed by HB 509                                               0.3    0.3
5/11/2020   Telephone conference with individual potentially harmed by HB 509, K.C.                                          0.7    0.7
            Telephone conference with Ms. Ingelhart and Ms. Huppert re: individual potentially harmed by HB 509,
5/11/2020
            K.C.                                                                                                             0.4    0.4
            Review and revise public records request relevant to HB 509; email Ms. Farnsworth and Ms. Huppert re:
5/11/2020
            same.                                                                                                            1.5    1.5
5/12/2020   Email Ms. Cockerille re: email from Ms. Thompson regarding hearing on motion.                                    0.6    0.6
5/12/2020   Prepare for hearing on motion for clarification.                                                                 3.3    3.3
5/13/2020   Email F.V. regarding additional fact gathering.                                                                  0.5    0.5
5/13/2020   Email Ms. Ingelhart and Ms. Huppert re: communications with F.V.                                                 0.3    0.3
5/13/2020   Prepare for oral argument on motion for clarification.                                                           5.9    5.9
5/13/2020   Prepare for and attend telephone conference with F.V. to gather additional facts.                                0.9    0.9
5/13/2020   Analyze additional facts gathered from F.V.                                                                      0.4    0.4
5/15/2020   Review edits to public records request and email Ms. Huppert re: same.                                           0.3    0.3
5/15/2020   Prepare for oral argument on motion for clarification.                                                           3.7    3.7
5/15/2020   Participate in moot on motion for clarification.                                                                 1.5    1.5
5/17/2020   Prepare for oral argument on motion for clarification.                                                           6.2    6.2
5/18/2020   Prepare for oral argument on motion for clarification.                                                           6.1    6.1
5/18/2020   Review summary from Ms. Ingelhart of conversations with potential expert witness Ms. W.                          0.4    0.4
            Telephone conference with litigation team to discuss weekly tasks and division of labor, including
5/18/2020
            potential justification briefing, and further development of facts relevant to HB 509.                             1      1
5/19/2020   Prepare for and attend hearing on motion for clarification.                                                      3.3    3.3
5/19/2020   Debrief regarding hearing on motion for clarification with litigation team.                                      0.4    0.4
5/26/2020   Email Ms. Ingelhart re: organization potentially harmed by HB 509.                                               0.4    0.4
5/26/2020   Email Ms. Ingelhart and Ms. Huppert re: oral argument on motion for clarification.                               0.3    0.3


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5/26/2020   Draft agenda for weekly litigation call.                                                                          0.4    0.4
            Attend weekly litigation call to discuss litigation tasks and division of labor, including further research to
5/26/2020
            support clarification motion, and development of facts relevant to HB 509.                                        1.1    1.1
5/26/2020   Draft update to clients regarding hearing on motion for clarification.                                            0.3    0.3
5/26/2020   Email litigation team regarding fact development and potential experts relevant to HB 509.                        0.2    0.2
5/29/2020   Telephone conference with Mr. Olsen re: public records request relevant to HB 509.                                0.4    0.4
5/29/2020   Telephone conference with Ms. Huppert and Ms. Ingelhart re: conversation with Mr. Olsen.                          0.6    0.6
            Telephone conference with litigation team for weekly call to discuss litigation tasks and status, including
6/1/2020
            potential need for further motion seeking relief relating to HB 509.                                                1      1
6/1/2020    Analyze decision on motion to clarify.                                                                            0.5    0.5
6/1/2020    Email with litigation team regarding analysis of order on motion to clarify.                                      0.7    0.7
6/1/2020    Email plaintiffs re: decision on motion to clarify.                                                               0.3    0.3
6/1/2020    Email Ms. Huppert re: attorneys’ fees from motion to clarify.                                                     0.3    0.3
6/2/2020    Email Ms. Huppert re: attorneys’ fees from motion to clarify.                                                     0.2    0.2
6/8/2020    Review and comment on outline regarding justifications for HB 509.                                                1.2    1.2
6/8/2020    Draft agenda for litigation team call.                                                                            0.3    0.3
            Telephone conference with litigation team for weekly call to discuss litigation tasks and status, including
6/8/2020
            next steps following order on clarification motion.                                                               0.6    0.6
6/8/2020    Telephone conference with Ms. Ingelhart re: potential experts relevant to HB 509.                                 0.4    0.4
6/9/2020    Review and revise stipulation and order regarding fees and email Ms. Huppert re: same.                            0.7    0.7
6/10/2020   Email Ms. Huppert re: communications with opposing counsel regarding stipulation and order on fees.               0.3    0.3
            Draft email to Mr. Olsen re: defendants’ future actions in light of clarification order; analyze order for
6/10/2020
            same; email litigation team re: proposed communication.                                                           1.3    1.3
6/10/2020   Review and analyze research re: post-judgment discovery and email Ms. Smith re: same.                             0.5    0.5
6/12/2020   Revise stipulation and order regarding fees; email with Mr. Olsen re: same; finalize documents for filing.        0.3    0.3
            Telephone conference with litigation team for weekly call to discuss litigation tasks and status, including
6/15/2020
            potential next steps after effective date of HB 509.                                                              0.4    0.4
            Draft agenda for telephone conference with litigation team for weekly call to discuss litigation tasks and
6/15/2020
            status.                                                                                                           0.2    0.2
6/16/2020   Telephone conference with Mr. Olsen re: Defendants’ next steps.                                                   0.4    0.4
6/16/2020   Email litigation team regarding telephone conference with Mr. Olsen and potential next steps.                     0.8    0.8
            Analyze potential next steps regarding Defendants’ enforcement plan and draft proposed correspondence
6/16/2020
            to Mr. Olsen for feedback from litigation team.                                                                   1.9    1.9
            Email Ms. Huppert re: next steps for beneficiary of injunction who would be harmed by HB 509
6/16/2020
            enforcement.                                                                                                      0.2    0.2
6/17/2020   Revise proposed correspondence to Mr. Olsen and email litigation team re: same.                                   0.8    0.8
6/17/2020   Telephone conference with Mr. Liu re: next steps with respect to Mr. Olsen.                                       0.4    0.4
6/17/2020   Email litigation team regarding potential status conference to address defendants’ enforcement of HB 509.
                                                                                                                              0.2    0.2
            Draft proposed communication to chambers requesting status conference for review by litigation team;
6/17/2020
            email litigation team re: same.                                                                                     1      1
6/17/2020   Draft proposed status report to address defendants’ enforcement of HB 509.                                        0.5    0.5
6/18/2020   Draft proposed status report to address defendants’ enforcement of HB 509.                                        3.7    3.7
            Telephone conference with Ms. Cockerille regarding notice to Defendants regarding request for status
6/18/2020
            conference.                                                                                                       0.2    0.2
            Email litigation team regarding notice to Defendants regarding request for status conference and revisions
6/18/2020
            to email to chambers.                                                                                             0.3    0.3
6/18/2020   Review letter from Mr. Olsen re: enforcement plans.                                                               0.2    0.2
6/18/2020   Revise draft email to chambers requesting status conference.                                                      0.7    0.7
6/18/2020   Email Mr. Olsen regarding request for status conference.                                                          0.3    0.3
6/18/2020   Email Ms. Huppert re: public records request and confidentiality restrictions requested for same.                 0.3    0.3
6/18/2020   Email Ms. Ingelhart regarding potential expert witness relevant to HB 509.                                        0.2    0.2
6/19/2020   Draft motion seeking further clarification relief.                                                                3.5    3.5
6/20/2020   Draft motion seeking further clarification relief and research for same.                                         12.1   12.1
            Telephone conference with Ms. Huppert regarding public records request documents and motion for
6/20/2020
            further clarification.                                                                                            0.7    0.7
6/21/2020   Draft motion seeking further clarification relief and research for same.                                          14     14
6/22/2020   Revise motion seeking further clarification relief.                                                               3.9    3.9


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6/22/2020   Draft agenda for litigation team call to discuss tasks and division of labor.                                   0.1   0.1
            Telephone conference with litigation team to discuss motion for clarification and documents produced in
6/22/2020
            response to public records request.                                                                             0.4   0.4
6/22/2020   Revise motion seeking further clarification relief; draft cover motion and attorney declaration.                1.7   1.7
6/22/2020   Revise motion seeking further clarification relief                                                              1.5   1.5
6/22/2020   Review and finalize brief for filing.                                                                           1.4   1.4
6/24/2020   Telephone conference with Ms. Ingelhart regarding oral argument on motion for clarification.                    0.2   0.2
6/24/2020   Telephone conference with Ms. Huppert regarding oral argument on motion for clarification                       0.2   0.2
6/24/2020   Email with F.V. regarding status and timeline of litigation.                                                    0.5   0.5
6/24/2020   Email with litigation team regarding court email regarding briefing schedule.                                   0.1   0.1
6/25/2020   Email Mr. Liu regarding ripeness argument for motion for clarification.                                         0.3   0.3
            Emails with Ms. Ingelhart, Ms. Huppert, and others re: communications with individuals potentially
6/25/2020
            harmed by HB 509.                                                                                               0.5   0.5
            Telephone conference with Dr. H., Ms. Ingelhart, and Ms. Huppert re: potential expert testimony relevant
6/26/2020
            to HB 509.                                                                                                       1     1
            Telephone conference with Ms. Ingelhart and Ms. Huppert to debrief re: potential expert testimony of Dr.
6/26/2020
            H. relevant to HB 509.                                                                                          0.4   0.4
6/29/2020   Draft agenda for weekly litigation call to discuss updates and tasks.                                           0.2   0.2
            Telephone conference with litigation team to discuss updates and tasks, including remainder of briefing on
6/29/2020
            motion for clarification.                                                                                       0.6   0.6
6/29/2020   Email litigation team regarding email from Mr. Olsen re: planned enforcement.                                   0.3   0.3
7/2/2020    Telephone conference with Ms. Huppert re: drafting of reply brief.                                              0.7   0.7
7/2/2020    Review and analyze defendants’ opposition; email litigation team and Ms. Huppert re: same.                      1.3   1.3
            Review and analyze defendants’ opposition; draft arguments for potential use in reply; email Ms. Huppert
7/3/2020
            re: same.                                                                                                       4.1   4.1
7/3/2020    Analyze and review draft of potential argument for reply and email Ms. Huppert re: same.                        0.6   0.6
7/4/2020    Research firm prediction rule and authority of federal court to interpret state law for reply brief.            2.9   2.9
7/5/2020    Review and revise draft of reply brief; email Ms. Huppert re: same.                                             4.5   4.5
7/6/2020    Review and revise draft of reply brief; email Ms. Huppert re: same.                                             1.3   1.3
7/6/2020    Telephone conference with Ms. Huppert re: revisions to reply brief.                                             0.5   0.5
7/6/2020    Draft agenda for weekly litigation call to discuss litigation updates and tasks.                                0.3   0.3
            Telephone conference with litigation team to discuss litigation updates and tasks, including next steps after
7/6/2020
            decision on pending motion for clarification.                                                                   0.6   0.6
7/7/2020    Review and revise draft of reply brief; email Ms. Huppert re: same.                                             1.1   1.1
7/7/2020    Telephone conference with Ms. Huppert re: revisions to reply brief.                                             0.2   0.2
7/8/2020    Telephone conference with Ms. Huppert re: oral argument on motion for clarification.                            0.3   0.3
7/8/2020    Emails with Ms. Huppert and Ms. Cockerille re: oral argument on motion for clarification.                       0.3   0.3
7/10/2020   Telephone conference with Ms. Huppert re: preparation for oral argument on motion for clarification.            0.5   0.5
7/13/2020   Draft agenda for weekly litigation call to discuss litigation updates and tasks.                                0.2   0.2
            Telephone conference for weekly litigation call to discuss litigation updates and tasks, including
7/13/2020
            preparation for moot.                                                                                           0.2   0.2
7/20/2020   Review oral argument preparation materials from Ms. Huppert                                                     1.8   1.8
7/20/2020   Prepare for moot with Ms. Huppert on motion for clarification regarding defendants’ enforcement.                0.5   0.5
7/20/2020   Participate in moot with Ms. Huppert on motion for clarification regarding defendants’ enforcement.             1.3   1.3
            Telephone conference with Ms. Huppert regarding preparation for hearing on motion for clarification
7/20/2020
            regarding defendants’ enforcement.                                                                              0.8   0.8
7/20/2020   Email Ms. Cockerille regarding hearing on motion for clarification regarding defendants’ enforcement.           0.2   0.2
            Email with Covington team regarding hearing on motion for clarification regarding defendants’
7/20/2020
            enforcement.                                                                                                    0.1   0.1
7/20/2020   Email with Ms. Huppert regarding hearing on motion for clarification regarding defendants’ enforcement.
                                                                                                                            0.2   0.2
7/21/2020   Telephone conferences with Ms. Huppert re: hearing on motion for clarification.                                 0.3   0.3
7/21/2020   Email with litigation team re: changes to timing of hearing on motion for clarification.                        0.2   0.2
7/21/2020   Email Ms. Huppert re: hearing on motion for clarification.                                                      0.7   0.7
7/22/2020   Email Ms. Huppert re: hearing on motion for clarification.                                                      0.3   0.3
7/22/2020   Review briefs in preparation for hearing on motion for clarification.                                           0.5   0.5
7/22/2020   Prepare for and attend hearing on motion for clarification.                                                     1.5   1.5
7/22/2020   Telephone conference with Ms. Huppert re: hearing on motion for clarification.                                  0.2   0.2


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             Telephone conference with Ms. Cockerille, Ms. Smith, and Mr. Lanosa re: hearing on motion for
7/22/2020
             clarification.                                                                                                0.3   0.3
7/22/2020    Email plaintiffs regarding hearing on motion for clarification.                                               0.3   0.3
7/27/2020    Review and revise first set of requests for production of documents.                                          0.9   0.9
7/27/2020    Email litigation team regarding weekly litigation tasks, including status of discovery requests.              0.3   0.3
7/27/2020    Review and respond to email from Ms. Ingelhart re: revisions to discovery requests.                           0.2   0.2
7/28/2020    Telephone conference with Ms. Ingelhart re: discovery requests.                                               0.3   0.3
7/28/2020    Draft email to Mr. Lanosa regarding discovery requests.                                                       0.5   0.5
7/31/2020    Telephone conference with Mr. Lanosa regarding revisions to discovery requests.                               0.4   0.4
8/7/2020     Telephone conference with Ms. Huppert regarding responses to public records requests.                         0.1   0.1
8/7/2020     Telephone conference with Ms. Huppert regarding order on motion for clarification.                            0.2   0.2
8/7/2020     Review order on motion for clarification regarding defendants’ enforcement plan.                              0.6   0.6
8/7/2020     Emails with plaintiffs regarding order on motion for clarification.                                           0.6   0.6
8/9/2020     Research appealability of order granting clarification.                                                       0.5   0.5
8/10/2020    Draft agenda for team call to discuss weekly litigation tasks.                                                0.2   0.2
             Telephone conference with litigation team to discuss weekly litigation tasks and status, including decision
8/10/2020
             on motion for clarification.                                                                                  0.9   0.9
8/10/2020    Draft and revise letter to Mr. Olsen re: compliance with injunction.                                          0.7   0.7
             Email Ms. Huppert, Ms. Ingelhart, and Ms. Farnsworth regarding defendants’ compliance with injunction;
8/11/2020
             review updated IDHW forms and compare with prior versions.                                                    0.5   0.5
8/11/2020    Email with Ms. Cockerille and Covington team re: defendants’ compliance with injunction.                      0.3   0.3
8/11/2020    Email Mr. Olsen re: defendants’ compliance with injunction.                                                   0.1   0.1
             Telephone conference with Ms. Ingelhart and Ms. Huppert re: potential expert testimony relevant to HB
8/12/2020
             509.                                                                                                            1     1
8/13/2020    Review edits to discovery requests from Ms. Ingelhart; email Ms. Ingelhart re: same.                          0.5   0.5
8/13/2020    Telephone conference with Mr. Liu and Mr. Lanosa regarding discovery requests.                                0.5   0.5
             Research regarding availability of discovery to oppose Rule 60(b)(5) motion and email Mr. Liu and Mr.
8/13/2020
             Lanosa regarding same.                                                                                        0.7   0.7
8/17/2020    Email litigation team regarding weekly team call to discuss timing of affirmative discovery.                  0.1   0.1
8/17/2020    Analyze strategic considerations regarding timing of affirmative discovery.                                   0.4   0.4
8/17/2020    Telephone conference with litigation team to discuss timing of affirmative discovery.                         0.9   0.9
8/17/2020    Telephone conference with Ms. Ingelhart and Ms. Huppert regarding revisions to discovery requests.            0.3   0.3
8/17/2020    Email Mr. Olsen regarding telephone conference to discuss case status.                                        0.2   0.2
8/19/2020    Prepare for call with Mr. Olsen to discuss case status and next steps.                                        0.4   0.4
             Telephone conference with Mr. Olsen to discuss case status and next steps, including potential motion
8/19/2020
             practice.                                                                                                     0.4   0.4
             Telephone conference with Ms. Huppert regarding telephone conference with Mr. Olsen to discuss case
8/19/2020
             status and next steps, including potential motion practice.                                                   0.3   0.3
             Email litigation team with summary and analysis of telephone conference with Mr. Olsen to discuss case
8/19/2020
             status and next steps, including potential motion practice.                                                   0.4   0.4
             Email Mr. Liu and litigation team regarding next steps regarding discovery and potential further
8/24/2020
             confirmatory email with Mr. Olsen.                                                                            0.5   0.5
             Telephone conference with litigation team for weekly call to discuss litigation tasks, including status of
8/24/2020
             potential discovery.                                                                                          0.3   0.3
8/24/2020    Email litigation team re: potential confirmatory email with Mr. Olsen following team call.                    0.1   0.1
             Email Ms. Ingelhart regarding potential timing of defendant’s forthcoming motion and status of potential
8/24/2020
             expert.                                                                                                       0.2   0.2
11/30/2020   Draft email to Mr. Olsen regarding further stipulation on timing of fees motion.                              0.4   0.4
11/30/2020   Draft email to litigation team regarding further stipulation on timing of fees motion.                        0.3   0.3
11/30/2020   Respond to emails from Mr. Liu regarding options for further stipulation on timing of fees motion.            0.5   0.5
11/30/2020   Email Ms. Huppert regarding preparation for stipulation and order on timing of fees motion.                   0.2   0.2
12/2/2020    Review and revise stipulation and order on timing of fees motion and email Ms. Huppert re: same.              0.7   0.7
12/14/2020   Review draft of expert testimony related materials potentially needed in litigation from Ms. Ingelhart.       0.5   0.5
             Email Ms. Ingelhart regarding draft of expert testimony related materials potentially needed in litigation
12/14/2020
             and next steps.                                                                                               0.4   0.4
             Telephone conference with litigation team re: expert testimony related materials potentially needed in
12/14/2020
             litigation and next steps.                                                                                    0.6   0.6
12/14/2020   Email litigation team re: follow-up Pavan research after team call.                                           0.1   0.1


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            Compare current IDHW birth certificate gender marker change forms to prior iterations of same, and email
2/8/2021
            litigation team regarding step to seek corrective action for further violations of the injunction.            1.5   1.5
            Emails with Ms. Cockerille, Ms. Ingelhart, and Covington team regarding corrective action for further
2/9/2021
            violations of the injunction.                                                                                 0.8   0.8
            Review and review draft letter to Mr. Olsen regarding corrective action for further violations of the
2/9/2021
            injunction.                                                                                                   0.9   0.9
3/29/2021   Email plaintiffs update regarding case status and potential dissolution motion.                               0.5   0.5
            Email Ms. Huppert and Ms. Ingelhart re: defendant’s plans with respect to potential dissolution motion
4/22/2021
            and outstanding issues related to fees.                                                                       0.3   0.3
            Email Ms. Smith re: defendant’s plans with respect to potential dissolution motion and outstanding issues
4/23/2021
            related to fees.                                                                                              0.3   0.3
            Telephone conference with Ms. Huppert regarding strategy and task list for seeking attorneys’ fees and
5/18/2021
            costs.                                                                                                        0.8   0.8
5/27/2021   Telephone conference with Ms. Huppert regarding motion for attorneys’ fees and costs.                         0.3   0.3
6/2/2021    Analyze attorneys’ fees issues raised by Ms. Huppert and email Ms. Huppert in response to same.               0.9   0.9
6/9/2021    Telephone conference with litigation team to discuss strategy re: attorneys’ fees.                            0.6   0.6
6/9/2021    Telephone conference with Ms. Smith re: client engagement letters for Hawley.                                 0.2     0
6/11/2021   Telephone conference with Ms. Huppert re: tasks and division of labor on fees motion.                           1     1
6/11/2021   Email Los Angeles civil rights practitioner regarding potential declaration to validate local market rates.   0.3   0.3
            Conference with Los Angeles civil rights practitioner regarding potential declaration to validate local
6/11/2021
            market rates.                                                                                                 0.3   0.3
6/12/2021   Research potential attorneys to validate Los Angeles rates.                                                   0.5   0.5
6/12/2021   Email Ms. Huppert status of potential candidates to validate Los Angeles rates.                               0.3   0.3
6/12/2021   Email Ms. Pizer regarding outreach to potential candidate to validate Los Angeles rates.                      0.5   0.5
6/12/2021   Email Ms. Ingelhart regarding potential attorneys to validate Chicago rates.                                  0.4   0.4
6/14/2021   Email with Ms. Pizer regarding outreach to potential candidate to validate Los Angeles rates.                 0.6   0.6
6/14/2021   Email with Ms. Huppert regarding time entries from Covington attorneys.                                       0.2   0.2
6/15/2021   Telephone conference with F.V. regarding case status update.                                                  0.4   0.4
6/15/2021   Telephone conference with Ms. Huppert regarding revisions to stipulation and order on fees and costs.         0.4   0.4
6/15/2021   Revise stipulation and order on fees and costs and email Ms. Smith re: same.                                  0.4   0.4
6/16/2021   Telephone conference with Ms. Huppert regarding attorneys’ fees and research assignments.                     0.7   0.7
6/17/2021   Email with Ms. Cockerille regarding local attorney to validate forum rates in support of fees motion.         0.5   0.5
6/21/2021   Email with Ms. Cockerille regarding local attorney to validate forum rates in support of fees motion.         0.3   0.3
6/21/2021   Review exemplars of prior declarations from Mr. Stormer validating local rates.                               0.5   0.5
6/22/2021   Email with Ms. Smith regarding stipulation and order on fees extension.                                       0.3   0.3
6/22/2021   Draft Stormer declaration based on information and materials provided by Mr. Stormer.                         1.5   1.5
6/23/2021   Draft Stormer declaration based on information and materials provided by Mr. Stormer.                         2.5   2.5
7/9/2021    Telephone conference with Ms. Huppert to discuss strategy and tasks re: seeking attorneys’ fees.              0.3   0.3
7/9/2021    Telephone conference with litigation team to discuss strategy and tasks re: seeking attorneys’ fees.          0.5   0.5
            Select relevant case law, declarations, and related materials to send to Ms. Smith to determine appropriate
7/9/2021
            local rates for fees and email Ms. Smith re: same.                                                            0.9   0.9
            Telephone conference with Ms. Huppert to discuss status of components for fees motion and potential
7/23/2021
            negotiation with opposing counsel re: fees.                                                                   0.3   0.3
8/3/2021    Email Ms. Ingelhart regarding case law on hourly rates in Chicago.                                            0.3   0.3
8/3/2021    Review and revise draft letter regarding attorneys’ fees to defendants.                                       1.8   1.8
            Telephone conference with Ms. Huppert to discuss revisions to draft letter regarding attorneys’ fees to
8/4/2021
            defendants.                                                                                                   1.2   0.6
8/4/2021    Review and revise further version of draft letter regarding attorneys’ fees to defendants.                    2.5   2.5
            Review and revise further version of draft letter regarding attorneys’ fees to defendants, and email Ms.
8/9/2021
            Huppert re: same.                                                                                             0.6   0.6
8/30/2021   Email with Ms. Huppert regarding task list and internal schedule for fees motion.                             0.3   0.3
            Telephone conference with litigation team to discuss state’s counter-offer on fees and preparation of fees
8/30/2021
            motion and supporting components.                                                                               1     1
8/30/2021   Finalize draft of declaration for Mr. Stormer to validate Los Angeles rates.                                  0.9   0.9
8/30/2021   Email Mr. Stormer regarding declaration to validate Los Angeles rates.                                        0.4   0.4
            Email with Ms. Huppert, Ms. Ingelhart, Ms. Smith, and Ms. Cockerille regarding declarations to validate
8/31/2021
            rates in Boise and Chicago.                                                                                   0.2   0.2
8/31/2021   Email with Mr. Lanosa regarding supporting factual information needed for fees motion.                        0.2   0.2


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9/1/2021    Draft Renn declaration in support of fees motion, and review prior filings in support of same.                   3.6     3.6
            Review exemplars of relevant attorney declarations in support of fees motion for preparation of Renn
9/1/2021
            declaration in support of fees motion.                                                                           0.7     0.7
9/2/2021    Email with Ms. Smith and Ms. Cockerille regarding declaration to validate Boise rates.                           0.2     0.2
9/2/2021    Draft Renn declaration in support of fees motion, and review prior filings in support of same.                   2.5     2.5
            Telephone conference with Ms. Huppert regarding rebuttal regarding points raised by Mr. Olsen’s
9/3/2021
            correspondence regarding attorneys’ fees and responses to same.                                                  0.6     0.6
            Draft summary of rebuttal regarding points raised by Mr. Olsen’s correspondence regarding attorneys’ fees
9/3/2021
            and email same to Ms. Huppert.                                                                                   0.8     0.8
            Telephone conference with Ms. Huppert regarding conversation with Mr. Olsen regarding attorneys’ fees
9/3/2021
            and next steps on motion.                                                                                        0.2     0.2
            Email with Covington team regarding streamlining timekeepers for whom fees are sought based on
9/3/2021
            correspondence from Mr. Olsen.                                                                                   0.2     0.2
9/7/2021    Draft Renn declaration in support of fees motion, and review prior filings in support of same.                   6.2     6.2
9/9/2021    Draft Renn declaration in support of fees motion, and review prior filings in support of same.                   1.5       0
9/10/2021   Conduct legal research for attorneys’ fees motion.                                                               1.9       0
9/10/2021   Telephone conference with Ms. Ingelhart regarding declaration of Mr. Wysong.                                     0.7       0
9/10/2021   Telephone conference with Ms. Huppert regarding attorneys’ fees motion and supporting declarations.                2       0
9/11/2021   Review and revise draft of Lloyd declaration regarding Boise hourly rates.                                       1.8     0.9
9/13/2021   Review and comment on draft outline of fees motion.                                                              2.2     1.1
9/14/2021   Review and revise draft of Wysong declaration regarding Chicago rates; conduct research for same.                6.5       3
9/15/2021   Telephone conference with Ms. Ingelhart regarding Wysong declaration regarding Chicago rates.                    0.5       0
9/16/2021   Draft Renn declaration in support of fees motion.                                                                  6       6
9/17/2021   Review draft of motion for attorneys’ fees                                                                       0.8     0.8
9/17/2021   Email with Ms. Smith regarding revisions to declaration of Mr. Lloyd.                                            0.2     0.2
9/17/2021   Email with Ms. Ingelhart regarding revisions to declaration of Mr. Wysong.                                       0.1     0.1
9/17/2021   Telephone conference with Ms. Huppert regarding draft of motion for attorneys’ fees.                             0.6     0.6
9/17/2021   Revise draft of motion for attorneys’ fees.                                                                      1.4     1.4
9/18/2021   Revise draft of motion for attorneys’ fees.                                                                      1.3     1.3
9/19/2021   Revise draft of motion for attorneys’ fees.                                                                      2.1     2.1
9/20/2021   Revise draft of motion for attorneys’ fees and analyze case law cited in draft.                                  8.6       6
9/21/2021   Revise draft of motion for attorneys’ fees.                                                                      9.1       6
9/22/2021   Revise draft of motion for attorneys’ fees.                                                                      7.7       6
9/22/2021   Draft Renn declaration in support of fees motion.                                                                0.9       0
9/22/2021   Email with Ms. Ingelhart regarding Chicago rates and Wysong declaration.                                         0.3     0.3
9/22/2021   Email plaintiffs re: case status update.                                                                         0.2     0.2
9/23/2021   Draft Renn declaration in support of fees motion.                                                                2.5     2.5
            Review and approve all time entries for submission with fees motion, including to exercise billing
9/24/2021
            judgment over same.                                                                                              1.8     1.8
            Review and approve time entries for submission with fees motion, including to exercise billing judgment
9/26/2021
            over same.                                                                                                       2.5      0

                                                                                                                        Total:     396.6




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                                                                                                                        TIME TIME
DATE      DESCRIPTION                                                                                                   SPENT BILLED
3/20/2020 Telephone conference with Mr. Renn, Ms. Ingelhart, and Ms. Cockerille to discuss litigation tasks.                 1      1
          Telephone conference with Mr. Renn, Ms. Ingelhart, and Ms. Cockerille to discuss tasks to prepare for
3/23/2020
          litigation.                                                                                                      1.4    1.4
          Telephone conference with Mr. Renn, Ms. Ingelhart, and Ms. Cockerille to discuss tasks to prepare for
3/30/2020
          litigation.                                                                                                        1      1
3/31/2020 telephone call with Mr. Renn to discuss dissolution research                                                     0.3    0.3
          Conduct research into possible avenues that might allow for enforcement of H.B. 509, including Rule
3/31/2020
          60(b) motion for dissolution                                                                                     2.8    2.8
4/1/2020 Telephone call with Mr. Renn to discuss research on 509                                                           0.7    0.7
          Conduct research into possible avenues that might allow for enforcement of H.B. 509, including Rule
4/1/2020
          60(b) motion for dissolution                                                                                     2.7    2.7
          Conduct research into possible avenues that might allow for enforcement of H.B. 509, including Rule
4/3/2020
          60(b) motion for dissolution                                                                                     2.4    2.4
          Conduct research into possible avenues that might allow for enforcement of H.B. 509, including Rule
4/5/2020
          60(b) motion for dissolution                                                                                       5      5
          Conduct research into possible avenues that might allow for enforcement of H.B. 509, including Rule
4/6/2020
          60(b) motion for dissolution                                                                                     1.2    1.2
4/6/2020 Litigation team telephone meeting with Ms. Ingelhart, Mr. Renn, and Ms. Cockerille                                  1      1
4/6/2020 Telephone meeting with individual potentially harmed by HB 509, J-W                                                 1      1
          Research into whether the re-enactment of an unconstitutional state law can ever justify dissolution under
4/8/2020
          Rule 60(b)(5)                                                                                                    4.3    4.3
4/10/2020 Telephone call with Mr. Renn to discuss clarification research                                                   0.5    0.5
4/10/2020 Weekly litigation team conference to discuss motion for clarification and division of labor                        1      1
4/15/2020 Telephone call with individual potentially harmed by HB 509, Ms. B                                               1.3    1.3
4/17/2020 Litigation team conference to discuss division of labor regarding clarification research                         0.9    0.9
4/23/2020 Conduct research into specific legal standard under Rule 60(b)(5)                                                  1      1
4/27/2020 Telephone call with Mr. Renn to discuss dissolution research, potential opposition                               0.4    0.4
4/29/2020 Conduct research into specific legal standard under Rule 60(b)(5)                                                3.6    3.6
5/4/2020 Research related to reply on motion for clarification, ripeness issues specifically                               4.3    4.3
5/5/2020 Research related to reply on motion for clarification, ripeness issues specifically                               6.4    6.4
5/5/2020 Outreach to people impacted by HB 509.                                                                            0.7    0.7
5/7/2020 Interview with impacted person D.B.                                                                               0.9    0.9
5/7/2020 reviewing PR's draft reply clarification                                                                          0.5    0.5
5/9/2020 Research for reply on clarification motion to rebut defendant's cited case law.                                   6.3    6.3
5/10/2020 Research related to reply on motion for clarification                                                            6.1    6.1
5/11/2020 Telephone call with Mr. Renn and Ms. Ingelhart to discuss call with potential plaintiff KC                       0.4    0.4
5/11/2020 Conference with litigation team to discuss motion for clarification, including moot for upcoming hearing.        0.9    0.9
5/11/2020 Call with impacted person K.C.                                                                                   0.9    0.9
5/12/2020 Drafting public records requests                                                                                   3      3
5/14/2020 research into inherent retention of jurisdiction to interpret injunction                                         4.8    4.8
5/15/2020 Drafting public records requests                                                                                 3.9    3.9
5/15/2020 Moot for Peter Renn on oral argument on motion for clarification                                                 1.2    1.2
5/19/2020 May 19th hearing on motion for clarification and team debrief                                                      3      3
5/20/2020 Finalizing and transmitting public records requests                                                              1.3    1.3
          Conference with litigation team to discuss clarification motion and fact issues related to challenging HB
5/26/2020
          509.                                                                                                             1.1    1.1
          Telephone call with Mr. Renn and Ms. Ingelhart following up on call with Mr. Olsen re: public records
5/29/2020
          requests                                                                                                         0.6    0.6
5/29/2020 Telephone call with Steve Olsen re: records request                                                              0.6    0.6
          Litigation team conference to discus tasks and division of labor, potential further avenues to prevent
6/1/2020
          enforcement of HB 509.                                                                                           0.9    0.9
6/1/2020 Review and analyze Order on Motion for Clarification                                                              0.9    0.9
6/8/2020 Litigation team conference to discuss status and analyze decision on motion for clarification                     0.8    0.8
6/9/2020   Prepare email to Steve Olsen regarding stipulation and proposed order to extend time to file a fees motion
                                                                                                                           0.4    0.4
6/9/2020   Prepare stipulation and proposed order to extend time on fees motion                                            1.4    1.4


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6/17/2020 Telephone update with impacted individual K.C.                                                                0.6    0.6
          Received and conducted preliminary review of public records in response to public records request re:
6/19/2020
          HB509                                                                                                         1.5    1.5
6/20/2020 Telephone call with Mr. Renn re: public records request and potential second motion for clarification         0.7    0.7
6/22/2020 Further research related to reply on motion for clarification                                                 0.4    0.4
6/22/2020 Litigation team conference to discuss public records and motion for clarification                             0.4    0.4
          Conference with Mr. Renn and Ms. Ingelhart with J.H., re: potential expert testimony on justifications in
6/24/2020
          opposition to potential motion for dissolution                                                                  1      1
6/24/2020 Call with impacted person P.R.                                                                                0.8    0.8
6/25/2020 Conducting comprehensive review of public records in response to public records request re: HB509             1.5    1.5
7/1/2020 Drafting reply to opposition to second motion for clarification                                                  3      3
          Telephone conference with Mr. Renn to discuss strategy regarding reply to opposition to second motion
7/2/2020
          for clarification                                                                                             0.8    0.8
7/2/2020 Drafting reply to opposition to second motion for clarification                                                1.9    1.9
7/3/2020 Drafting reply to opposition to second motion for clarification                                               12.5   12.5
7/4/2020 Drafting reply to opposition to second motion for clarification                                               12.8   12.8
7/5/2020 Drafting reply to opposition to second motion for clarification                                               11.7   11.7
          Litigation team conference to discuss status and discuss upcoming decision on second motion for
7/6/2020
          clarification, possible strategic responses.                                                                  0.9    0.9
7/7/2020 Drafting reply to opposition to second motion for clarification                                                7.1    7.1
7/8/2020 Email correspondence arranging a time for hearing on second motion for clarification                           1.1    0.1
7/10/2020 Call with Mr. Renn re: prep oral argument on 2nd motion for clarification                                     0.5    0.5
7/10/2020 Conducting comprehensive review of public records in response to public records request re: HB509             2.9    2.9
          Litigation team conference to discuss tasks and division of labor including moot in advance of upcoming
7/13/2020
          hearing on second motion for clarification                                                                    0.4    0.4
7/15/2020 Conducting comprehensive review of public records in response to public records request re: HB509             2.9    2.9
7/17/2020 Preparing for hearing on second motion for clarification                                                     12.9   12.9
7/18/2020 Preparing for hearing on second motion for clarification                                                      11     11
7/19/2020 Preparing for hearing on second motion for clarification                                                      9.1    9.1
7/20/2020 Preparing for hearing on second motion for clarification                                                      8.1    8.1
7/20/2020 Mooting hearing on second motion for clarification                                                            1.4    1.4
7/22/2020 Hearing on second motion for clarification and team debrief                                                   2.2    2.2
8/7/2020 Call with Mr. Renn re: public records requests                                                                 0.1    0.1
8/7/2020 Call with Mr. Renn re: order on 2nd motion for clarification                                                   0.2    0.2
          Litigation team conference to discuss decision on second motion for clarification, tasks and division of
8/10/2020
          labor in response                                                                                             0.9    0.9
8/12/2020 Telephone meeting with Ms. Ingelhart and Mr. Renn regarding potential expert testimony                          1      1
8/17/2020 Telephone call with Mr. Renn and Ms. Ingelhart regarding discovery requests                                   0.3    0.3
8/19/2020 Telephone call with Mr. Renn regarding phone call with Mr. Olsen                                              0.3    0.3
8/24/2020 Litigation team conference to discuss potential discovery issues                                              0.3    0.3
          Telephone call with Mr. Renn regarding attorneys fee stipulation and deadline, potential motion for fees
5/18/2021
          and costs                                                                                                     0.8    0.8
6/9/2021 Telephone call with litigation team re: recovering attorneys' fees                                             0.6    0.6
          Phone conference with Mr. Renn to discuss drafting and research of declarations in support of motion for
6/11/2021
          attorneys' fees                                                                                                 1      1
6/18/2021 Analyze intern research regarding legal issues in motion for attorneys' fees                                  0.4    0.4
6/21/2021 Collating time entries for fees motion                                                                        2.9    1.5
6/22/2021 Research for fees motion                                                                                      4.6    4.6
7/9/2021 Phone call with Mr. Renn to discuss motion for attorneys' fees tasks                                           0.3    0.3
          Litigation team conference to discuss upcoming tasks related to motion for attorneys' fees and division of
7/9/2021
          labor                                                                                                         0.5    0.5
7/14/2021 Research related to motion for attorney's fees, out-of-forum rates                                            3.4    3.4
7/19/2021 Research related to motion for attorney's fees, out-of-forum rates                                              6      6
7/22/2021 Organizing time entries for fees motion                                                                       1.8    0.9
7/23/2021 Phone call with Mr. Renn to discuss fees motion research and potential negotiation                            0.3    0.3
7/26/2021 Research and drafting attorneys' fees motion                                                                  2.7    2.7
7/27/2021 Collating time entries for fees motion                                                                        3.3    1.7
7/28/2021 Drafting letter to opposing counsel re: negotiating attorneys' fees                                           2.8    2.8


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                                                        Time Sheet for Attorney Nora Huppert

7/29/2021   Drafting letter to opposing counsel re: negotiating attorneys' fees                                             2.9       2.9
8/4/2021    Revising letter to opposing counsel re: negotiating attorney's fees                                             3.6       3.6
8/4/2021    Telephone call with Mr. Renn regarding revisions to letter Defendants regarding attorneys' fees                 1.2       0.6
8/8/2021    Finalizing draft of letter to Defendants regarding attorneys' fees                                              0.3       0.3
8/9/2021    Transmitting letter to Defendants' regarding attorneys' fees and potential negotiation as to fees               0.2       0.2
8/25/2021   Telephone call with Mr. Olsen regarding attorneys' fees letter                                                  0.1       0.1
8/30/2021   Telephone call with Mr. Olsen regarding attorneys' fees letter                                                  0.1       0.1
            Telephone conference with litigation team regarding upcoming division of labor re: motion for attorneys'
8/30/2021   fees                                                                                                                1      1
            Litigation team conference to discuss state's response to proposed settlement of fees and further
8/30/2021   preparation of attorneys' fees motion                                                                             1         1
8/31/2021   Email with Mr. Renn and Ms. Ingelhart regarding Stormer Declaration                                             0.1       0.1
9/1/2021    Email with Mr. Renn regarding collection of time entries for attorneys' fee motion                              0.1       0.1
9/2/2021    Telephone call with Mr. Olsen regarding attorneys' fees letter                                                  0.1       0.1
9/3/2021    Telephone call with Mr. Olsen regarding attorneys' fees letter                                                  0.2       0.2
            Telephone meeting with Mr. Renn regarding upcoming telephone call with Mr. Olsen regarding attorneys'
9/3/2021    fees letter                                                                                                     0.6       0.6
            Telephone meeting with Mr. Renn regarding second telephone conversation with Mr. Olsen regarding
9/3/2021    attorneys’ fees and next steps on motion.                                                                       0.2       0.2
9/8/2021    Telephone call with Mr. Olsen regarding attorneys' fees letter                                                  0.1       0.1
9/9/2021    Collating and organizing time                                                                                   1.2       0.6
9/9/2021    Email team regarding time for attorneys' fees motion                                                            0.1       0.1
9/10/2021   Telephone meeting with Mr. Renn regarding briefing for upcoming attorneys' fees motion                            2         0
9/12/2021   Drafting memorandum of law in support of attorneys' fees motion                                                11.5         9
9/13/2021   Drafting memorandum of law in support of attorneys' fees motion                                                  15         9
9/14/2021   Drafting memorandum of law in support of attorneys' fees motion                                                13.8         9
9/15/2021   Drafting memorandum of law in support of attorneys' fees motion                                                  14         9
9/17/2021   Telephone call with Mr. Renn to discuss filing tasks re: Motion for Attorney's Fees                             0.6       0.6
9/22/2021   Revising memorandum of law in support of attorneys' fees motion                                                 1.2       1.2
9/22/2021   Organizing and preparing litigation team's time for submission with attorneys' fees motion                      3.2       1.6
9/24/2021   Further review, organizing, and preparing of litigation team time in preparation for filing                     1.2       0.6
9/26/2021   Review draft of Renn declaration in support of fees motion                                                      1.3       0.6
9/27/2021   Further review, organizing, and preparing of litigation team time in preparation for filing                     1.6       0.8

                                                                                                                       Total:       277.8




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                                                    Time Sheet for Attorney Kara Ingelhart

                                                                                                                   TIME TIME
DATE        DESCRIPTION                                                                                            SPENT BILLED
3/19/2020   Communication with individuals and organizations impacted by HB509.                                          1     1
3/20/2020   Telephone conference with Nora Huppert and Peter Renn re tasks to prepare for potential litigation.          1     1
3/23/2020   Telephone conference with F.V. litigation team to discuss initial litigation tasks.                        1.4   1.4
3/24/2020   Communication with individuals and organizations impacted by HB509.                                          1     1
3/25/2020   Scheduling meeting with individual impacted by HB 509 EJ; Telephone conference with EJ.                      2     2
            Email update to F.V. litigation team; Email communication with AC re other potential expert witnesses;
3/26/2020
            follow-up communication with impacted individual EJ.                                                       0.5   0.5
            Email update to F.V. litigation team regarding communication with persons impacted by HB 509 and
3/27/2020
            potential experts.                                                                                         0.3   0.3
3/30/2020   Telephone conference with F.V. litigation team re: litigation tasks.                                         1     1
3/30/2020   Telephone call with potential expert AC.                                                                   0.5   0.5
3/30/2020   Research persons and organizations impacted by HB509.                                                      1.5   1.5
            Follow-up with co-counsel MC, potential expert AC, HB509-impacted individual OJW; research persons
3/31/2020
            and orgs impacted by HB509.                                                                                3.2   3.2
4/1/2020    Telephone conference w Peter Renn re: statutory interpretation of HB509 and dissolution motion             0.4   0.4
            Email correspondence with organization in potential contact with impacted persons; Review Lambda help
4/1/2020
            desk inquiries regarding HB 509.                                                                           2.5   2.5
            Email correspondence with and research regarding correspondence with organization in potential contact
4/2/2020
            with impacted persons                                                                                        2     2
4/3/2020    Email correspondence with persons and organizations impacted by HB509.                                     0.6   0.6
4/6/2020    Telephone conference with Mr. Renn, Ms. Huppert, and Ms. Cockerille re: HB509 litigation tasks.            1.5   1.5
4/6/2020    Telephone conference with individual impacted by HB509 OJW.                                                  1     1
4/6/2020    Telephone conference with Mr. Renn and Ms. Huppert re: communication with OJW.                             0.3   0.3
4/6/2020    Draft interview questions for HB509-impacted individuals and organizations.                                  1     1
4/6/2020    Review Lambda Legal help desk intakes regarding HB509.                                                       1     1
4/7/2020    Telephone conference with Mr. Renn re: potential Covington co-counsel                                      0.3     0
4/7/2020    Telephone conference with potential Covington co-counsel.                                                  0.7     0
4/8/2020    Telephone conference with potential Covington co-counsel.                                                  0.3     0
4/9/2020    Telephone conference with potential experts AC and NAPHSIS.                                                  1     1
4/9/2020    Email update to F.V. litigation team re communication with potential experts.                              0.2   0.2
4/9/2020    Review HB509 legislative justifications                                                                    0.5   0.5
4/10/2020   Responsive email to co-counsel Covington                                                                   0.2     0
4/10/2020   Email correspondence follow-up with Help Desk attorney re HB509 inquiries                                  0.3   0.3
4/10/2020   HB509 legislative justifications research                                                                  0.8   0.8
4/10/2020   Assemble documents for co-counsel Covington                                                                0.2     0
4/10/2020   Telephone conference with litigation team regarding HB509 litigation tasks.                                0.5     0
4/13/2020   Telephone conference with HB509-impacted person LB.                                                          1     1
            Follow-up emails to retainer communications with clients; scheduling follow-up communication with LB
4/14/2020
            over emails                                                                                                0.3   0.3
4/14/2020   Review draft motion for clarification.                                                                     0.7   0.7
4/14/2020   Telephone conference with client F.V. re retainer.                                                         0.3     0
4/15/2020   Research re potential expert witness.                                                                      0.7   0.7
4/15/2020   Telephone conference with LB and Peter Renn                                                                1.3   1.3
4/15/2020   Research re potential expert witness.                                                                      0.7   0.7
            Email correspondence with Covington co-counsel sharing related Tennessee matter public filings and
4/17/2020
            short summary.                                                                                             0.1     0
4/17/2020   Weekly litigation call to discuss litigation tasks, status, and division of labor.                         0.9   0.9
4/23/2020   Email correspondence with Mr. Renn re HB 509 justifications                                                0.2   0.2
4/24/2020   Draft case proof chart.                                                                                    2.5   2.5
4/27/2020   Attend weekly litigation team meeting regarding litigation tasks and status                                  1     1
4/27/2020   Research re HB 509 legislative justifcation and potential expert witness                                   1.5   1.5
4/27/2020   Telephone conference with Peter Renn re HB509-impacted individuals.                                        0.2   0.2
4/29/2020   Telephone conference with HB509-impacted person OJW.                                                       0.8   0.8
4/29/2020   Telephone conference with HB509-impacted person LB.                                                        0.8   0.8
4/30/2020   Telephone conference with HB509-impacted person LB.                                                          1     1
5/1/2020    Telephone conference with HB509-impacted person OJW.                                                       0.5   0.5


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5/4/2020    Telephone conference with HB509-impacted person OJW.                                              0.5   0.5
5/5/2020    Email correspondence with HB-509 impacted individuals.                                            0.5   0.5
5/6/2020    Email correspondence with HB-509 impacted individuals.                                            0.2   0.2
5/7/2020    Telephone conference with HB509-impacted person DB.                                                 1     1
5/7/2020    Telephone conference with HB509-impacted person DS.                                                 1     1
5/7/2020    Email with Mr. Renn re HB509-impacted individuals' facts                                          0.2   0.2
5/8/2020    Review reply brief in support of motion for clarification.                                          1     1
5/8/2020    Email correspondence with Nora Huppert and Peter Renn re HB509-impacted individuals.              0.5   0.5
5/11/2020   Attend weekly litigation team meeting regarding litigation tasks and status                       1.1   1.1
5/11/2020   Telephone conference with Peter Renn and Nora Huppert re HB509-impacted individual                0.4   0.4
            Schedule follow-up meeting with potential expert NAPHSIS follow-up and related potential expert
5/11/2020
            research                                                                                          0.7   0.7
5/11/2020   Telephone conference with Nora Huppert and HB509-impacted person K.                                 1     1
5/12/2020   Review Lambda Legal help desk intakes regarding HB509.                                            0.2   0.2
5/12/2020   Telephone conference with HB509-impacted individual EJ.                                           0.8   0.8
5/12/2020   Potential expert NAPHSIS summary draft for litigation team                                        0.5   0.5
5/15/2020   Partipate in moot on motion for clarification                                                     1.5   1.5
5/15/2020   Prepare to participate in moot on motion for clarification.                                       1.2   1.2
5/18/2020   Telephone conference with litigation team to discuss weekly tasks                                   1     1
5/18/2020   Follow-up email correspondence with potential expert NAPHSIS.                                     0.2   0.2
5/19/2020   Attend hearing on motion for clarification.                                                         2     2
5/20/2020   Email communication with HB509-impacted individuals and organizations.                            0.5   0.5
5/21/2020   Email correspondence to HB509-impcted person LB.                                                  0.2   0.2
5/21/2020   Email correspondence to HB509-impcted person LG.                                                  0.1   0.1
5/22/2020   Telephone conference with LG from HB509-impacted organization ID PFLAG.                           1.5   1.5
5/26/2020   Telephone conference with potential expert JS.                                                      1     1
5/26/2020   Attend weekly litigation team meeting regarding litigation tasks and status                       1.1   1.1
5/26/2020   Telephone conference with potential expert SW.                                                      1     1
5/26/2020   Research re potential expert witness.                                                             1.4   1.4
5/29/2020   Research re potential expert witness.                                                             0.9   0.9
5/29/2020   Telephone conference with Steve Olsen re records request.                                         0.4   0.4
5/29/2020   Telephone conference with Peter Renn and Nora Huppert re conference with SO re records request.   0.6   0.6
6/1/2020    Research re potential expert witness.                                                             1.7   1.7
6/1/2020    Weekly litigation call to discuss tasks, status, and division of labor.                             1     1
6/1/2020    Telephone conference with poential expert CMW                                                     0.5   0.5
6/1/2020    Review order on Motion for Clarification                                                          0.5   0.5
6/2/2020    Telephone conference with HB509-impacted person LB.                                               0.3   0.3
6/2/2020    Telephone conference with HB509-impacted organization OUPD.                                       0.5   0.5
6/4/2020    Email correspondence with HB-509 impacted organization Moscow PFLAG                               0.2   0.2
6/8/2020    Weekly litigation call to discuss tasks, status, and division of labor.                             1     1
6/8/2020    Telephone conference with Peter Renn re potential expert and research.                                    0
6/10/2020   Email correspondence with potential expert JH.                                                    0.2   0.2
6/12/2020   Research re potential expert witness.                                                               1     1
6/15/2020   Weekly litigation team meeting to discuss tasks, status, and division of labor.                   0.4   0.4
6/15/2020   Email correspondence with potential expert JH.                                                    0.1   0.1
6/16/2020   Email correspondence with potential expert GS.                                                    0.3   0.3
6/18/2020   Review Lambda Legal help desk intakes regarding HB509.                                            0.2   0.2
6/19/2020   Email correspondence with Peter Renn and Nora Huppert re public records request.                  0.2   0.2
6/22/2020   Weekly litigation team meeting to discuss tasks, status, and division of labor.                     1     1
6/22/2020   Review motion regarding Defendants' enforcement of HB509 plan.                                    0.7   0.7
6/23/2020   Telephone conference with Peter Renn re potential expert and research.                            0.5   0.5
6/24/2020   Telephone conference with Peter Renn re oral argument and motion for clarification.               0.2   0.2
6/25/2020   Preparation for meeting with potential expert JH.                                                 0.5   0.5
6/26/2020   Telephone conference with potential expert JH.                                                      1     1
6/26/2020   Telephone conferencew with Peter Renn re potential expert JH.                                     0.4   0.4
6/26/2020   Draft of brief in opposition to expected motion to disolve F.V. permanent injunction.             1.5     1
6/29/2020   Weekly litigation team meeting to discuss tasks, status, and division of labor.                   0.5   0.5
6/29/2020   Email correspondence with Peter Renn re potential expert JH.                                      0.2   0.2


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6/29/2020  Email correspondence with potential expert SL.                                                              0.3      0.3
7/6/2020   Review reply in support of motion regarding Defendants' enforcement of HB509 plan.                          0.5      0.5
7/6/2020   Weekly litigation team meeting to discuss tasks, status, and division of labor.                               1        1
7/6/2020   Telephone conference with potential expert SL.                                                              0.5      0.5
7/7/2020   Email correspondence with potential expert BD.                                                              0.5      0.5
7/8/2020   Research re potential expert witness.                                                                       0.5      0.5
7/13/2020  Telephone conference with potential expert BD.                                                              0.2      0.2
7/16/2020  Telephone conference with potential expert BD.                                                              0.5      0.5
7/22/2020  Attend hearing on motion for clarification.                                                                 1.5      1.5
7/22/2020  Review litigation team email correspondence re hearing on motion for clarificaiton.                         0.5      0.5
7/27/2020  Review drafted RFPs and share edits in email correspondenec with Peter Renn and Nora Huppert                0.8      0.8
7/28/2020  Telephone conference with Peter Renn re RFPs.                                                               0.3      0.3
8/10/2020  Weekly litigation team meeting.                                                                               1        1
8/10/2020  Email correspondence with potential expert BD.                                                              0.2      0.2
8/12/2020  Telephone conference with Peter Renn and Nora Huppert re potential expert.                                    1        1
8/12/2020  Research re potential expert witness.                                                                       0.5      0.5
8/13/2020  Edit RFPs and email correspondence to Nora Huppert and Peter Renn re same.                                  0.3      0.3
8/13/2020  Research regarding existing ID code/regulations re amendments to BCs.                                       0.3      0.3
8/13/2020  Draft definitions for RFPs.                                                                                 0.5      0.5
8/17/2020  Weekly litigation team meeting.                                                                             0.9      0.9
8/17/2020  Telephone conference with Nora Huppert and Peter Renn re RFPs.                                              0.3      0.3
10/13/2020 Draft issues for potential expert report and supporting documents.                                          0.2        0
10/16/2020 Draft issues for potential expert report and supporting documents.                                            3      1.5
           Draft issues for potential expert report and supporting documents and email correspondence with Nora
12/14/2020
           Huppert and Peter Renn re same.                                                                               4        2
2/9/2021   Review draft letter to Steve Olsen re violations of injunction.                                             0.2      0.2
3/3/2021   Email correspodence to NCTE update website regarding decision to advise public.                             0.2        0
6/9/2021   Attend portion of litigation team meeting re fees.                                                          0.3      0.3
6/14/2021 Email outreach to Chicago civil rights litigator colleagues re hourly rates.                                   1        1
7/9/2021   Litigation team call re fee motion                                                                          0.5      0.5
7/15/2021 Review Chicago rate fee research.                                                                              1        1
8/2/2021   Review Chicago rate fee research.                                                                             1        1
8/3/2021   Research re Chicago civil rights attorney hourly rates.                                                     0.5      0.5
8/30/2021 Litigation team call re fee counter and motion                                                                 1        1
8/31/2021 Email correspondence with Chicago rate validator Charlie Wysong.                                             0.2      0.2
8/31/2021 Email correspondence with Peter Renn and Nora Huppert re Chicago rate validator.                             0.2      0.2
9/2/2021   Telephone conference with Chicago attorney Charlie Wysong re declaration.                                   0.2      0.2
9/2/2021   Draft Wysong declaration.                                                                                   0.5      0.5
9/3/2021   Draft Wysong declaration.                                                                                   0.5      0.5
           Review email summary re Nora Huppert and Steve Olsen telephone conference regarding fees and
9/7/2021
           respond re same.                                                                                            0.2      0.2
9/8/2021   Draft Wysong declaration.                                                                                   1.5      1.5
9/9/2021   Draft Wysong declaration.                                                                                   1.5      1.5
9/10/2021 Telephone conference with Peter Renn re Wysong declaration.                                                  0.7        0
9/10/2021 Telephone conference with Charlie Wysong re: declaration                                                     0.1      0.1
9/10/2021 Draft Wysong declaration.                                                                                      1        1
9/15/2021 Telephone conference with Peter Renn re Wysong declaration.                                                  0.5      0.5
9/15/2021 Draft Wysong declaration.                                                                                    0.7      0.7
           Email correspondence with Peter Renn and Nora Huppert re resumes/supporting documents for fee
9/16/2021
           petiton.                                                                                                     0.1     0.1
9/20/2021 Incorporate Nora Huppert and Peter Renn edits to Wysong declaration.                                          0.5     0.5
9/21/2021 Telephone conference with Charlie Wysong re declaration.                                                      0.3     0.3
9/21/2021 Telephone conference with Peter Renn re Wysong declaration.                                                   0.2       0
9/22/2021 Telephone conference with Charlie Wysong re declaration.                                                      0.2     0.2
9/22/2021 Incorporate Charlie Wysong edits to declaration.                                                                1       1
9/23/2021 Incorporate Peter Renn edits to Wysong declaration.                                                           0.4     0.4
9/25/2021 Review draft motion for attorneys fees.                                                                       0.5       0
                                                                                                                  Total:      109.6


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                                                                                                                          TIME TIME
DATE        DESCRIPTION                                                                                                   SPENT BILLED
3/23/2020   Call with Lambda team to discuss proposed legislation to overturn F.V. injunction and potential litigation
                                                                                                                              1      1
3/30/2020   Call with Lambda team to discuss proposed legislation to overturn F.V. injunction and potential litigation
                                                                                                                              1      1
            Review various emails in preparation for call to discuss passage of HB 509; telephone conference with
4/6/2020
            Lambda team on next steps for drafting legal action                                                              2.5    2.5
4/7/2020    Review of research on new complaint as a vehicle to challenge legislation to overturn F.V. injunction              1      1
4/8/2020    Email on public records request for HB 509                                                                       0.1    0.1
4/9/2020    Research on new complaint as vehicle to challenge legislation to overturn F.V. injunction                        1.2    1.2
4/10/2020   Work on draft of potential new complaint to challenge HB 509                                                     1.3    1.3
4/14/2020   Telephone conference with Peter Renn on motion to shorten time for clarification and other issues                0.2    0.2
            Review and revise motion to shorten time; review motion for clarification; review memorandum on
4/15/2020
            clarification; email revisions to Peter Renn re: same                                                            0.9    0.9
4/16/2020   Prepare final documents for filing; file same; further email on meet and confer on motion to shorten time          1      1
            Telephone conference with team to discuss status of motion for clarification and division of labor on other
4/17/2020
            potential avenues re: HB 509                                                                                     0.9    0.9
5/8/2020    Review reply to response on motion for clarification                                                               1      1
5/11/2020   Telephone conference with Peter Renn regarding potential timing of filings in new action if required.            0.5    0.5
5/11/2020   Telephone conference to attend part of call with team regarding status of litigation tasks                       0.1    0.1
5/15/2020   Telephone conference on mooting argument on motion for clarification                                             1.4    1.4
5/18/2020   Weekly telephone conference with team on litigation task status on challenging HB 509                              1      1
5/19/2020   Court hearing on motion for clarification                                                                        2.1    2.1
6/1/2020    Telephone conference with team on status of litigation tasks in challenge to HB 509                                1      1
6/15/2020   Weekly telephone call to discuss status of litigation tasks in challenge to HB 509                               0.6    0.6
            Review letter to Steve Olsen regarding plan to enforce HB 509 and email on next steps; email replying to
6/17/2020
            same                                                                                                             0.3    0.3
6/18/2020   Telephone conference with Peter Renn regarding notice to Defendants of request for status conference             0.2    0.2
6/22/2020   Review and revise briefing on second motion for clarification; telephone conference with team on status
                                                                                                                               1      1
6/29/2020  telephone conference with team to discuss status of second motion for clarification                               0.6    0.6
7/20/2020  Telephone conference with team in preparation for hearing on second motion for clarification                      1.3    1.3
7/22/2020  Court hearing on second motion for clarification                                                                  1.3    1.3
7/22/2020  Telephone conference with Peter Renn, Mr. Lanosa, and Ms. Smith re: hearing on motion                             0.3    0.3
8/3/2020   Email on First Set of Requests for Production                                                                     0.1    0.1
8/7/2020   Email on Court's decision on second motion for clarification                                                      0.1    0.1
           Telephone conference with team on Decision on Motion for Clarification and Discovery Requests in
8/10/2020
           preparation to oppose Rule 60(b)(5) Motion                                                                        0.3    0.3
8/17/2020 Email on Discovery to Oppose Rule 60(b)(5) Motion                                                                  0.1    0.1
9/9/2020   Email on F.V. deadline to appeal court's August 7th decision on clarification                                     0.2    0.2
12/14/2020 Review of Expert Report Discussed on 12/14 Call concerning opposition to Rule 60(b)(5) Motion                     0.2    0.2
12/17/2020 Review of Birth Certificate Litigation Victory in Ohio                                                            0.1    0.1
2/10/2021 Emails on the Violation of the Injunction by Idaho                                                                 0.1    0.1
2/14/2021 Emails on Demand Letter to Steven Olsen                                                                            0.1    0.1
2/24/2021 Emails on Response from Steve Olsen re: Demand Letter                                                              0.2    0.2
3/3/2021   Emails on Withdrawal of Appearance in F.V. Matter re: Isaac Belfer                                                0.1    0.1
3/11/2021 Filing of Belfer Withdrawal                                                                                        0.1    0.1
4/2/2021    Emails with Mr. Renn and others on defendants' non-compliance with injunction through February 2021
                                                                                                                             0.1    0.1
6/1/2021    Emails on Conflict Waiver re: Colleen Smith                                                                      0.1    0.1
6/9/2021    Telephone conference with team on attorneys' fees motion                                                         0.5    0.5
            Various emails with team relating to fees motion, declarations as to Boise rates and other rates; reply to
6/14/2021   same; further email on time, email and contact for declaration for Boise rates                                   0.2    0.2
            Email with Nora Huppert re: declaration for Boise rates; Review and compile time entries and send to
6/17/2021   Nora                                                                                                             0.2    0.2
            Review and revise resume; send same to Nora Huppert for fees motion; telephone conference with Tom
6/18/2021   Lloyd re: declaration on Boise rates; email to Nora Huppert and Peter Renn re: same                              0.4    0.4


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            Review various emails regarding time entries and regarding July 9 call relating to time and declarations in
7/23/2021   support of fees                                                                                                    0.1    0.1
            Review various email with Steve Olsen and email from Peter and team relating to good faith effort to
8/8/2021    resolve fees motion with state; reply with comments on letter to Steve                                             0.2    0.2
8/30/2021   Telephone conference with litigation team to discuss government offer on fees and fees motion.                       1      1
8/30/2021   email with Tom Lloyd on declaration in support of motion                                                           0.1    0.1
            Review response from government to fees offer; further email with Colleen Smith re: Tom Lloyd
9/2/2021    declaration; further communication with Tom Lloyd; further email with Nora Huppert and team                        0.2    0.2
            Email with Peter Renn and litigation team on response to government and thoughts on mediation; reply to
9/9/2021    same                                                                                                               0.1    0.1
            Email with Colleen Smith re: Tom Lloyd declaration; review and revise declaration and send comments to
9/16/2021   Colleen                                                                                                            0.3    0.3
9/23/2021   Review and revise memorandum in support of attorneys' fees motion                                                  0.4    0.4
9/26/2021   Review Renn declaration in support of motion for fees; respond with comments and edits                             0.3    0.3

                                                                                                                          Total:     29.7




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                                                                 F.V. v. Jeppesen
                                                       Time Sheet for Attorney Colleen Smith

                                                                                                                     TIME TIME
DATE        DESCRIPTION                                                                                              SPENT BILLED
4/7/2020    Email communications with Covington team regarding initial steps in HB 509 challenge.                        0.1   0.1
4/8/2020    Draft engagement letters for potential new clients in Idaho HB 509 litigation.                               2.4     0
4/9/2020    Draft and circulate email to team regarding draft engagement letter for potential new clients.               0.2     0
4/9/2020    Review email communications regarding scope of co-counsel agreement.                                         0.1     0
4/10/2020   Participate in Covington-Lambda Legal team meeting regarding overall litigation strategy.                    1.1   1.1
4/10/2020   Email communications regarding Covington team litigation strategy meeting on HB 509 challenge.               0.1   0.1
4/10/2020   Review meeting agenda and prepare for Covington-Lambda Legal litigation strategy meeting.                    0.2   0.2
4/10/2020   Review and analyze Idaho case law on requests for preliminary injunctions.                                     1     0
4/13/2020   Review and analyze Lambda Legal's notes on HB 509.                                                           0.3   0.3
4/13/2020   Review and analyze Idaho Attorney General's letter regarding constitutionality of HB 509.                    0.5   0.5
4/13/2020   Review and analyze Judgment and permanent injunction the Court entered in F.V. v. Barron.                    0.3     0
            Draft and circulate summary to Henry Liu regarding background materials re: re: F.V. v. Barron and HB
4/13/2020
            509.                                                                                                         0.5     0
            Meet with Henry Liu to discuss motion for clarification and next steps to assist with Idaho HB 509
4/14/2020
            challenge.                                                                                                   0.2   0.2
            Review motion for clarification, memorandum in support, and motion for abbreviated briefing schedule
4/14/2020
            and draft comments regarding the same.                                                                       1.8   1.8
            Review and edit Henry Liu's comments on motion for clarification and circulate comments to Lambda
4/15/2020
            Legal.                                                                                                       0.4   0.4
4/16/2020   Review and analyze interview notes from Lambda.                                                              0.5     0
            Review audio and video files from House and Senate hearings on HB 509, draft list of relevant clips from
4/17/2020
            each file, and submit request for creation of transcripts for relevant clips.                                0.8   0.8
4/17/2020   Participate in team strategy meeting with Lambda Legal.                                                      0.9   0.9
4/17/2020   Draft and circulate notes from meeting with Lambda Legal to Covington team.                                  0.5     0
4/17/2020   Review and analyze March 2, 2020 Senate State Affairs Committee meeting on alternative to HB 509.            0.4   0.4
4/17/2020   Review and analyze February 13, 2020 House State Affairs meeting minutes on HB 509.                          0.3   0.3
4/17/2020   Review and analyze February 21, 2020 House State Affairs Meeting on HB 509.                                  2.2   2.2
4/18/2020   Review and analyze House floor debate and vote on HB 509.                                                    0.9   0.9
4/18/2020   Review and analyze Senate State Affairs Committee meeting on HB 509.                                         1.6   1.6
4/22/2020   Participate in call with Mike Lanosa and Isaac Belfer regarding background of Idaho HB 509 challenge.
                                                                                                                         0.5   0.4
4/27/2020   Review and analyze complaint filed in Hecox v. Little.                                                       0.5     0
            Review and analyze case law and draft outline of the same regarding likelihood of success on the merits of
4/28/2020
            equal protection claim challenging HB 509.                                                                   4.3   2.1
            Review and analyze transcripts of Senate and House hearings on HB 509 and create outline of
4/29/2020
            governmental reasons given for passing HB 509.                                                               5.4   5.4
4/30/2020   Review and analyze strength of governmental reasons given for passing HB 509.                                2.6   2.6
            Review and analyze case law regarding transgender bathroom bans and add analysis to merits briefing
4/30/2020
            outline.                                                                                                     2.4   2.4
4/30/2020   Review and analyze case law cited in HB 509 and add analysis to merits briefing outline.                     0.3     0
5/1/2020    Revise merits briefing outline.                                                                              1.7   1.7
5/1/2020    Review and analyze case law regarding burden of proof issues relevant to HB 509 challenge.                   2.9   2.9
            Review and analyze legal standards for preliminary injunction and dissolution of permanent injunction and
5/1/2020
            add to merits briefing outline.                                                                              1.5    0
            Review and analyze Defendants' opposition to motion for clarification and draft summary regarding the
5/2/2020
            same.                                                                                                        0.4   0.4
5/4/2020    Participate in Covington team meeting regarding merits briefing outline and case strategy.                   0.7   0.7
5/4/2020    Meet with Mike Lanosa to discuss division of research on merits briefing issues.                             0.2   0.2
5/5/2020    Review and analyze academic literature for statistical information on transgender populations.               3.8   3.8
            Review and analyze case law regarding Idaho law re: impact on pending applications when law takes
5/5/2020
            effect.                                                                                                      0.6   0.6
5/5/2020    Revise merits briefing outline.                                                                              1.5   1.5
5/7/2020    Meet with Henry Liu to discuss edits to reply in support of motion for clarification.                        0.1   0.1
5/7/2020    Review, analyze, and edit reply in support of motion for clarification.                                      1.7   1.7
5/7/2020    Add additional edits to reply in support of motion for clarification based on discussion with Henry Liu.     1.1   1.1



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                                                        Time Sheet for Attorney Colleen Smith

            Review and analyze transgender birth certificate cases pending in other jurisdiction and other cases that
5/8/2020
            have cited the decisions issued in those cases.                                                                 2.7   1.2
5/8/2020    Review and analyze case law regarding government interest in enforcing private contracts or policies.           1.1   1.1
5/8/2020    Review and analyze Idaho statutes requiring individuals to present a birth certificate.                         0.5   0.5
5/8/2020    Review and analyze case law regarding level of scrutiny to be used in evaluating government interest.           1.7     0
5/12/2020   Review and analyze case law on First Amendment compelled speech claim.                                          2.6     0
5/12/2020   Research and analyze requirements for associational and third-party standing.                                   1.6   1.6
            Research and analyze case law regarding irreparable harm when plaintiff has third-party or associational
5/12/2020
            standing.                                                                                                       2.2   2.2
5/13/2020   Draft questions for moot oral argument on motion for clarification.                                               1     1
5/13/2020   Review and analyze final draft of reply in support of motion for clarification.                                 0.5   0.5
5/13/2020   Review and analyze supplementary research regarding preliminary injunction.                                     0.3   0.3
5/13/2020   Review and analyze case law on First Amendment compelled speech claim.                                          1.6     0
            Review, analyze, and edit draft public record requests addressed to House and Senate State Affairs
5/13/2020
            Committees, Governor Little, Representative Young, and the Legislative Services Office.                         2.5   2.5
            Review and analyze District of Idaho case law regarding irreparable harm and infringement of
5/14/2020
            constitutional rights issue and draft summary regarding the same.                                               1.5   1.5
5/14/2020   Review and analyze case law on First Amendment compelled speech claim.                                          1.4     0
            Research and analyze federal and state laws and regulations requiring the presentation of a birth certificate
5/14/2020
            to obtain a license or service.                                                                                 2.4   2.4
5/14/2020   Draft and circulate email to Lambda Legal regarding edits to public records requests.                           0.2   0.2
5/15/2020   Participate in moot of motion for clarification.                                                                1.5   1.5
5/18/2020   Review and revise analysis of First Amendment claim in merits briefing outline.                                 1.6     0
5/19/2020   Participate in debrief of oral argument on motion for clarification.                                            0.4   0.4
5/19/2020   Review and analyze case law on transgender issues and their intersection with First Amendment law.              2.3     0
5/20/2020   Review and analyze case law in support of due process claim and begin drafting outline of the same.             3.6     0
5/22/2020   Review and analyze case law on due process claim and update merits briefing outline on the same.                3.5     0
6/1/2020    Review and analyze William Isasi's comments on merits briefing outline.                                         0.4   0.4
6/9/2020    Review case law and draft memorandum regarding availability of post-judgment discovery.                         4.8   4.8
            Draft and circulate email to team regarding memorandum about post-judgment discovery and plan to
6/10/2020
            monitor Idaho Department of Health and Welfare's enforcement of HB 509.                                         0.2   0.2
            Review and analyze email communications and draft letter to opposing counsel regarding enforcement of
6/17/2020
            HB 509.                                                                                                         0.5   0.5
6/22/2020   Review and edit second motion for clarification.                                                                1.6   1.6
6/24/2020   Review and analyze court order regarding briefing schedule on motion for clarification.                         0.1   0.1
            Review and analyze email communication from Steve Olson regarding Defendant's next course of action
6/30/2020
            and proposed response.                                                                                          0.1   0.1
7/6/2020    Review and analyze changes to application to request gender change on birth certificate.                        0.3   0.3
7/6/2020    Review analyze opposition to and draft reply in support of motion for clarification.                              1     1
7/6/2020    Meet with Isaac Belfer to discuss affirmative discovery requests.                                               0.1   0.1
7/13/2020   Draft first set of requests for production.                                                                     2.1   2.1
7/20/2020   Prepare for practice moot in preparation for oral argument on motion for clarification.                         0.5   0.5
7/20/2020   Participate in practice moot in preparation for oral argument on motion for clarification.                      1.2   1.2
            Telephone conference with Mr. Renn, Mr. Lanosa, and Ms. Cockerille re: hearing on motion for
7/22/2020
            clarification.                                                                                                  0.3    0
            Review and analyze outline of expected arguments in support of and in opposition to forthcoming motion
1/6/2021
            and draft expert report.                                                                                         1     1
            Participate in emeeting to discuss strategy and other evidence needed to defend against defendants’
1/8/2021
            anticipated motion.                                                                                             0.6   0.6
            Review and analyze draft report and outline of arguments and evidence expected to be presented in
1/8/2021
            defendants' forthcoming motion.                                                                                 1.1   1.1
2/9/2021    Draft letter to Steve Olsen regarding injunction violation.                                                     1.7   1.7
2/9/2021    Prepare exhibits to accompany letter regarding injunction violation.                                            0.3   0.3
2/10/2021   Review and analyze response email from Steve Olsen. Draft reply and circulate to team for review.               0.4   0.4
2/10/2021   Draft and send email to Steve Olsen regarding injunction violation attaching demand letter.                     0.3   0.3
2/11/2021   Revise and send email to Steve Olsen regarding injunction violation.                                            0.1   0.1
2/12/2021   Meet with Steve Olsen to discuss Defendants' investigation into injunction violation.                           0.2   0.2
2/22/2021   Draft and circulate email analyzing letter received from Steve Olsen regarding injunction violation.            0.5   0.5


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                                                       Time Sheet for Attorney Colleen Smith

            Draft, circulate and revise email to Steve Olsen regarding outstanding requests in connection with
3/1/2021
            injunction violation.                                                                                             0.4     0.4
5/28/2021   Review and analyze co-counsel agreement.                                                                          0.3       0
            Review and analyze co-counsel agreement; review and revise client engagement letter; circulate both to B.
6/1/2021
            Miller for review.                                                                                                1.3      0
6/2/2021    Meet with Brad Miller to discuss co-counsel agreement and client engagement letter.                               0.2      0
            Revise client engagement letter; draft and send email to co-counsel regarding co-counsel agreement and
6/3/2021
            client engagement letter.                                                                                         0.4       0
6/9/2021    Revise client engagement letter.                                                                                  0.1       0
6/9/2021    Participate in meeting with team to discuss motion for attorneys' fees.                                           0.6     0.6
6/9/2021    Meet with P. Renn to discuss client engagement letter.                                                            0.2       0
6/14/2021   Email communications regarding stipulation to extend deadline for fees motion.                                    0.3     0.3
            Review and analyze draft stipulation to extend time to file fees motion and proposed order granting the
6/15/2021
            same; email correspondence regarding stipulation; draft notice of change of address.                              1.1     1.1
6/17/2021   Email communications regarding stipulation to extend deadline to file fees motion.                                0.2     0.2
6/18/2021   Revise and send client engagement letters.                                                                        0.6       0
6/21/2021   Draft and send email communications regarding stipulation to extend time for fees motion.                         0.2     0.2
            Finalize for filing change of address and stipulation to extend time for filing a fees motion; email and
6/22/2021
            phone communications regarding the same.                                                                          1.1     0.5
7/9/2021    Participate in team call regarding fees petition.                                                                 0.5     0.5
7/19/2021   Draft and circulate emails regarding recent court orders granting fee petitions.                                  0.2     0.2
7/23/2021   Review and analyze case law on hourly rates awarded by the District of Idaho on fee petitions.                    0.8     0.8
7/26/2021   Review and analyze case law regarding billing rates in Boise for civil rights litigators.                         3.2     3.2
            Review and analyze case law regarding Boise billing rates for civil rights litigators; draft declaration
7/27/2021
            regarding the same.                                                                                               4.8     4.8
            Draft email to Lambda Legal team regarding research on billing rates; draft proposed Boise rates for all
7/28/2021
            attorneys; revise draft declaration regarding legal research on Boise billing rates.                              2.3     2.3
8/30/2021   Participate in team meeting regarding anticipated motion for attorneys' fees.                                     1.1     1.1
            Review and analyze Thomas Lloyd's biography; draft and send email communications to M. Cockerille
8/30/2021
            and T. Lloyd regarding draft declaration.                                                                         0.5     0.5
            Review and analyze sample declaration in support of motion for attorneys' fees in anticipation of drafting
9/1/2021
            declaration in support of motion for attorneys' fees.                                                             0.3     0.3
9/1/2021    Draft summary of relevant case law for declaration in support of motion for attorneys' fees.                      2.6     2.6
            Meet with Tom Lloyd to discuss Boise rates in advance of drafting declaration in support of motion for
9/2/2021
            fees.                                                                                                             0.5     0.5
            Review and analyze letter from Steve Olsen regarding fees settlement proposal; email communications
9/3/2021
            with team regarding analysis of the same.                                                                         0.6     0.6
            Draft qualifications section of Lloyd declaration in support of motion for attorneys' fees; revise summary
9/7/2021
            of case law in Lloyd declaration.                                                                                 1.8     1.8
            Review attorney biographies and begin drafting biography summaries for Lloyd declaration in support of
9/9/2021
            motion for attorneys' fees.                                                                                       1.4     1.4
            Continue drafting attorney biographies for Lloyd declaration in support of motion for attorneys' fees;
9/15/2021
            review and revise Lloyd declaration.                                                                              2.3     2.3
            Review edits to Lloyd declaration from team members and revise Lloyd declaration; review and assemble
9/22/2021
            all attorney resumes; email communications with T. Lloyd regarding draft declaration.                             1.5     1.5
9/23/2021   Review and revise memorandum in support of motion for attorneys fees.                                             1.0     0.5

                                                                                                                         Total:     103.6




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                                                                    F.V. v. Jeppesen
                                                        Time Sheet for Attorney Michael Lanosa


                                                                                                                       TIME TIME
DATE        DESCRIPTION                                                                                                SPENT BILLED
4/22/2020   Prepare for, attend teleconference with I. Belfer, C. Smith re: Idaho birth certificate case.                  0.9   0.4
4/29/2020   Legal research re: intermediate scrutiny standard; communicate with K. King re: same.                            2     0
            Legal research re: preliminary injunction factors; draft, revise draft outline of preliminary injunction
5/1/2020
            motion; communicate re: same.                                                                                 10.9     5
            Perform additional legal research to support preliminary injunction motion; memorandum to H. Liu re
5/5/2020
            same.                                                                                                            4     2
5/6/2020    Additional legal research re: irreparable harm.                                                                3.7   3.7
            Revise, communicate re motion for clarification reply brief; perform factual research to support potential
5/7/2020
            PI motion.                                                                                                     7.3   3.5
            Review correspondence from Lambda team; communicate re: strategy re: PI motion; perform further legal
5/8/2020
            research to support merits arguments.                                                                          2.5   2.5
            Review correspondence from Lambda re: case strategy; review scientific article re the effect on
            transgender people of having correct identity documents; review as-filed motion for clarification reply
5/11/2020
            brief; prepare for and attend weekly strategy meeting with Lambda; perform further factual research to
            support merits arguments.                                                                                      4.4   2.2
            Perform additional research re: irreparable harm element of preliminary injunction test; draft memorandum
5/12/2020
            re: same.                                                                                                      6.1     3
5/13/2020   Additional legal research re: irreparable harm; communicate re: same.                                            2     2
            Communicate re: merits outline; analyze, communicate re: Judge Dale's order on plaintiff's motion for
6/1/2020
            clarification in F.V. v. Barron.                                                                               2.4   2.4
            Perform legal research to support additional arguments in merits outline regarding opposition to motion to
6/2/2020
            dissolve.                                                                                                      1.8   1.8
6/5/2020    Perform legal research re: HB 509 discrimination issue.                                                        4.6     2
6/6/2020    Research cases involving successful equal protection challenges under the rational basis review standard.
                                                                                                                              5.8     3
6/20/2020   Review correspondence re: request for status conference.                                                          0.2   0.2
6/30/2020   Review correspondence from P. Renn re: communications with opposing counsel.                                      0.1     0
7/16/2020   Review, revise draft RFPs.                                                                                        2.9   2.9
            Prepare for, participate in team meeting to moot oral argument on Plaintiffs' second motion for
7/20/2020
            clarification.                                                                                                    2.1   2.1
            Telephone conference with Mr. Renn, Ms. Smith, and Ms. Cockerille re: hearing on motion for
7/22/2020
            clarification.                                                                                                    0.3     0
7/27/2020   Communicate with team re: email from P. Renn and proposed discovery requests to defendants.                       0.2   0.2
            Review Lambda's revision to the draft requests for production; communicate with team regarding same;
7/28/2020
            further revise draft requests for production.                                                                     1.1   1.1
            Review the District of Idaho's local rules regarding discovery; draft interrogatories to defendants;
7/29/2020
            communicate with Covington team re: same.                                                                         2.7     2
7/31/2020   Confer with P. Renn re: RFPs; communicate with Covington team re: same.                                           0.4   0.4
            Review draft letter to opposing counsel from P. Renn; review recent media coverage of the court's order
8/10/2020   granting Plaintiffs' second motion for clarification; revise draft interrogatories and requests for production;
            communicate with Covington colleagues re: same.                                                                   1.6    0
            Review correspondence from opposing counsel; review, communicate re: draft discovery requests; review
8/11/2020
            IDHW's revised sex marker change application packet and compare same to pre-HB 509 version.
                                                                                                                              1.1   1.1
8/16/2020   Legal research re: post-judgment discovery.                                                                       6.9   6.9
            Draft memorandum to team regarding post-judgment discovery research; communicate with P. Renn and
8/17/2020
            K. Inglehart re: Lambda's revisions to draft RFPs; incorporate revisions into current version of draft RFPs.
                                                                                                                              0.9   0.9
            Review, analyze memoranda from Lambda team re: potential topics for discovery and other strategies in
1/4/2021
            opposing Defendants’ anticipated motion to dissolve.                                                              1.3   1.3
            Communicate re: documents from K. Ingelhart; plan and prepare for the taking of discovery in connection
1/6/2021
            with defendants' anticipated motion.                                                                              0.8   0.8




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                                                       Time Sheet for Attorney Michael Lanosa


           Prepare for and attend call with K. Ingelhart re: research to support opposition to defendants' anticipated
1/8/2021   motion; compile list of research topics related to the merits of plaintiffs' claims and tentative assignments
           for Covington team and circulate same to I. Belfer and C. Smith; begin researching assigned merits topics.
                                                                                                                               4.4    4.4

                                                                                                                           Total:    57.8




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                                                                  F.V. v. Jeppesen
                                                         Time Sheet for Attorney Isaac Belfer

                                                                                                 TIME TIME
DATE         DESCRIPTION                                                                         SPENT BILLED
4/22/2020    Participate in call to discuss Idaho matter wth Michael Lanosa and Colleen Smith.       0.4   0.4
4/27/2020    Prepare for, participate in call with co-counsel re: litigation tasks.                  2.5     1
4/28/2020    Perform legal research re: standing.                                                    2.2   2.2
4/29/2020    Perform legal research re: standing and pleading issues.                                1.8   1.8
4/30/2020    Perform legal research re: standing, pleading issues.                                   4.4   3.4
5/1/2020     Analyze pleading issues in preparation for call.                                        0.8     0
5/1/2020     Draft memo re: standing/pleading issues.                                                5.2   4.2
5/1/2020     Perform legal research re: standing, pleading issues.                                   1.6   1.6
5/2/2020     Revise memo re: standing/pleading issues.                                               1.7   1.7
5/4/2020     Analyze motion for clarification briefing.                                                1     1
5/4/2020     Draft research note to co-counsel re: standing and other strategic issues.              1.5   1.5
5/5/2020     Analyze standing issues.                                                                1.7   1.7
5/5/2020     Revise memo re: standing, strategic issues.                                             1.9   1.9
5/7/2020     Revise reply in support of motion for clarification.                                    1.2   1.2
5/8/2020     Analyze strategic issues re new complaint.                                              1.8   0.8
5/15/2020    Participate in moot on motion for clarification                                         1.4   1.4
6/1/2020     Analyze decision on motion for clarification and emails re: same.                       0.6   0.6
6/20/2020    Perform legal research re: ripeness.                                                    4.5   4.5
6/22/2020    Revise motion for clarification.                                                          3     3
7/6/2020     Review motion for clarification briefing.                                               0.5   0.5
7/6/2020     Discuss motion for clarification, case strategy with litigation team.                   0.6   0.6
7/15/2020    Revise RFPs.                                                                            1.2   1.2
8/7/2020     Review decision on motion for clarification.                                            0.4   0.4
8/12/2020    Exchange emails re: state's compliance with injunction.                                 0.1   0.1
12/14/2020   Discuss response to government's anticipated motion to dissolve injunction.             0.7   0.7
1/8/2021     Participate in call re: potential expert report.                                        0.7   0.7
1/12/2021    Perform legal research re: potential depositions.                                         1     1
1/15/2021    Analyze issues re: export report related to opposing motion to dissolve.                1.6   1.6
1/21/2021    Analyze issues re: export report related to opposing motion to dissolve.                1.1   1.1
2/9/2021     Revise letter re: violation of injunction.                                              0.6   0.6

                                                                                                 Total:   42.4




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                                                                    F.V. v. Jeppesen
                                                       Time Sheet for Paralegal Jamie Farnsworth

                                                                                                                      TIME TIME
DATE        DESCRIPTION                                                                                               SPENT BILLED
3/19/2020   Research legislative activity regarding HB 509; send emails with Mr. Renn re: same.                           2.8     0
3/20/2020   Research legislative activity regarding HB 509; send emails with Mr. Renn re: same.                           2.3     0
3/23/2020   Research legislative activity regarding HB 509                                                                2.9     0
3/24/2020   Research legislative activity regarding HB 509; emails with Mr. Renn re: same.                                1.9     0
3/26/2021   Research legislative activity regarding HB 509                                                                1.7     0
3/30/2020   Research legislative activity regarding HB 509.                                                               1.7     0
3/30/2020   Telephone conference with litigation team to discuss litigation tasks.                                          1   0.5
            Research legislative history regarding HB 509, e.g., gather lawmaker statements; email with Ms. Ingelhart
3/31/2020
            and others re: legislative history                                                                            0.9     0
4/1/2020    Research legislative history regarding HB509                                                                  1.2     0
4/1/2020    Telephone conference with Mr. Renn re: legislative history research                                           0.3   0.3
4/2/2020    Research legislative history regarding HB 509, including emails with Mr. Renn and others re: same.            1.8     0
            Emails with Mr. Renn and others re: legislative history research, including access to unposted hearing
4/3/2020
            audio or transcripts                                                                                          1.5     0
4/5/2020    Review audio/video from HB 509 hearings and gather lawmaker statements                                        3.1     0
            Email with Mr. Renn and Ms. Cockerille re: legislative history research; work on compiling and
4/8/2020
            organizing all HB 509 related documents                                                                       0.9     0
4/9/2020    Email litigation team re: access to organized HB 509 related documents.                                       0.2     0
4/10/2020   Research legislative history regarding HB 509; emails with Mr. Renn, Ms. Ingelhart, and others re: same.
                                                                                                                            0.5     0
4/10/2020   Call with litigation team to discuss litigation tasks.                                                          1.1   0.5
            Research legislative history regarding HB 509, including emails with Mr. Renn and others re: same;
4/13/2020
            research formal public records requests                                                                         5.2   5.2
4/14/2020   Cite-check, review, and proofread Motion for Clarification; review lawmaker statements re HB 509                4.9   4.9
4/15/2020   Finish cite-checking Motion for Clarification and proofread same                                                3.8   3.8
            Compile relevant FV documents to share, and email co-counsel; Email with Mr. Renn re: same and public
4/24/2020
            records requests                                                                                                  1     0
4/27/2020   Send emails with Mr. Renn re: lawmaker statements; Work on public records request                               1.5   1.5
4/27/2020   Call with litigation team to discuss litigation tasks.                                                            1   0.5
            Contact Legislative Services Office about public records request; send email and draft of public records
4/30/2020
            request to litigation team; Emails with Mr. Renn re: same.                                                      2.4   2.4
5/7/2020    Work on Reply to Motion for Clarification, including cite-check; Send emails with Mr. Renn re: same             3.7   3.7
5/11/2020   Emails with Mr. Renn re: public records request                                                                 0.2   0.2
5/11/2020   Call with litigation team to discuss litigation tasks.                                                          1.1   0.5
5/12/2020   Finalize drafts of public records requests; Emails with Mr. Renn and Ms. Huppert re: same.                      3.1   3.1
5/18/2020   Call with litigation team to discuss litigation tasks.                                                            1   0.5
5/20/2020   Email with team re public records requests                                                                      0.1   0.1
5/26/2020   Call with litigation team to discuss litigation tasks.                                                            1     0
6/8/2020    Call with litigation team to discuss litigation tasks.                                                          0.6     0
6/15/2020   Call with litigation team to discuss litigation tasks                                                           0.4     0
            Email with Ms. Huppert re: Idaho legislative history; Email with Mr. Renn re: Motion re: Status
6/19/2020
            Conference                                                                                                      0.5    0
            Email with Ms. Huppert re: receipt of large files from Idaho re: public records; Work on cite-checking
6/22/2020
            Motion for Clarification                                                                                        4.1   4.1
6/22/2020   Call with litigation team to discuss litigation tasks.                                                          0.4     0
6/29/2020   Call with litigation team to discuss litigation tasks.                                                          0.6     0
7/6/2020    Call with litigation team to discuss litigation tasks.                                                          0.6     0
            Work on cite checking reply with Ms. Huppert; analyze changes to new application packet on Idaho
7/6/2020
            website                                                                                                         3.2   3.2
7/7/2020    Finish reviewing and proofing reply; Email with Ms. Huppert re: same                                            2.1   2.1
7/22/2020   Listen and take notes at hearing; meet with litigation team to discuss; clean up notes and circulate to team.
                                                                                                                              2     0
8/10/2020   Call with litigation team to discuss litigation tasks.                                                          0.9     0
8/11/2020   Compare new Idaho application packet with previous and circulate redline to litigation team                     0.8   0.8
9/17/2021   Cite check and proofread Wysong declaration                                                                     1.7   0.9
9/23/2021   Review and proofread Renn declaration                                                                           1.2   0.6


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                                                  F.V. v. Jeppesen
                                     Time Sheet for Paralegal Jamie Farnsworth

9/24/2021   Cite check fees motion                                                    2.6    2.6
9/27/2021   Cite check fees motion                                                    3.4    3.4

                                                                                 Total:     45.4




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